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 The relief described hereinbelow is SO ORDERED.

 Signed April 26, 2022.


                                                              __________________________________
                                                                          Ronald B. King
                                                                  United States Bankruptcy Judge




                                    UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TEXAS
                                             WACO DIVISION

   IN RE:                                                §    CHAPTER 11
                                                         §
   DARYL GREG SMITH and,                                 §    CASE NO. 21 -60162-RBK-11
   CANADIAN RIVER RANCH, LLC                             §    CASE NO. 21-60163-RBK-l 1
                                                         §    Jointly Administered Under
                                                         §    Case No. 21 -60162-rbk
             Debtors.                                    §

        ORDER (A! APPROVING THE SALE OF REAL ESTATE FREE AND CLEAR
          OF ALL LIENS. CLAIMS. ENCUMBRANCES. AND OTHER INTERESTS
       PURSUANT TO BANKRUPTCY CODE SECTIONS 105, 363(B), (F). (H) AND (M),
                 365. AND 503: AND (B) GRANTING RELATED RELIEF

            Came on for consideration the motion (the “Motion”)' of Gregory S. Milligan, chapter 11

   trustee in the above-captioned bankruptcy cases (the “Trustee”) pursuant to sections 105, 363,

   365 and 503 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002 and

   6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local

   Rules of the United States Bankruptcy Court for the Western District of Texas (the “Local

   Rules”) for (i) an order approving (a) bid procedures for the sale of certain real estate (the1

   1 Capitalized terms used but not defined herein shall have the meanings ascribed to them in Sales Contract (as
   defined herein).


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    “Property’) owned by Debtor Daryl Greg Smith (“Smith”) and Darren Keith Reed2 (“Reed”;

    and together with the Trustee, the “Sellers”), including the approval of a Stalking Horse Bidder,

    (b) establishing a date for an auction if the Trustee receives one or more timely and acceptable

    Qualified Bids (the “Auction1’) and a final hearing (the '"Sale Hearing’) to approve the sale of

    the Property (the "Sale Transaction”), (c) approving the form and manner of notice of the

    Auction and Sale Hearing, and (d) granting related relief and (ii) an order (a) approving the sale

    of the Property free and clear of all liens, claims, encumbrances, and other interests pursuant to

    sections 105 and 363 of the Bankruptcy Code, and (b) granting related relief, all as more fully

    described in the Motion; and this Court having entered an order on March 4, 2022 (Doc. 341)

    (the "Bid Procedures Order' and Exhibit 1 attached thereto, the "Bid Procedures”); and the

    Auction having been set for April 25, 2022 in accordance with the Bid Procedures Order; and

   only the Purchaser (as defined herein) having been deemed a Qualified Bidder and having

    submitted a Qualified Bid for the Property; and on April 19, 2022, the Trustee having filed a

   notice of cancellation of the Auction (Doc. 405); and a final hearing (the “Sa/e Hearing’) to

   approve the sale of the Property (the 11 Sale Transaction”) having been held on April 25, 2022 to

   consider approval of the Sales Contract (as defined herein); and the Court having determined that

   notice of the Motion was adequate and sufficient; and all such parties having been afforded due

   process and an opportunity to be heard with respect to the Motion and all relief requested therein;

   and the Court having reviewed and considered: (i) the Motion; (ii) the objections and responsive

   pleadings filed in connection with the Motion, if any; and (iii) the representations of counsel

   made, and the evidence proffered, at the Sale Hearing; and the Sale Hearing having been held,

   and after due deliberation and sufficient cause appearing therefor, hereby finds and determines

   that:


   2 The Smith estate holds an undivided 90% interest in the Property. The remaining 10% interest is held by Reed.


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              A.        Jurisdiction and Venue. The Court has jurisdiction to consider the Motion and

   the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

   Reference from the United States District Court for the Western District of Texas, the

   consideration of the Motion and the relief requested therein is a core proceeding pursuant to

   28 U.S.C. § 157(b), and venue is proper under 28 U.S.C. §§ 1408 and 1409.

             B.         Final Order. This Order constitutes a final order within the meaning of 28 U.S.C.

   § 158(a).

             C.         Statutory Predicates. The statutory predicates for the relief sought in the Motion

   are sections 105(a), 363, and 365 of the Bankruptcy Code, Bankruptcy Rules 2002 and 6004.

             D.         Notice. The service of the Motion on the Sale Notice Parties (as defined in the

   Bid Procedures Order) and the Sale Notice and the proposed entry of this Order to the Sale

   Notice Parties was adequate and sufficient under the circumstances of these chapter 11 cases,

   and such notice complied with all applicable requirements under the Bankruptcy Code, the

   Bankruptcy Rules, the Local Rules, and the Bid Procedures Order. With respect to entities whose

   identities were not reasonably ascertained by the Trustee, notice was sufficient and reasonably

   calculated under the circumstances to reach such entities. Accordingly, no further notice of, or

   hearing on, the Motion, the Sale Hearing, the Sales Contract, the Sale Transaction, or this Order

   is necessary or required.

             E.         Compliance with Bid Procedures Order.          As demonstrated by (i) evidence

   adduced at the Sale Hearing and (ii) the representations of counsel made on the record at the Sale

   Hearing, the Trustee has conducted a fair and open sale process in a manner reasonably

   calculated to produce the highest and otherwise best offer for the Property in compliance with

   the Bid Procedures Order. The Bid Procedures were substantively and procedurally fair to all




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   parties. The sale process, Bid Procedures and Auction were non-collusive, duly noticed, and

   afforded a full, fair, and reasonable opportunity for any Person to make a higher and otherwise

   better offer to purchase the Property. The bidding and related procedures established by the Bid

   Procedures Order have been complied with in all material respects by the Trustee and the

   Purchaser.

             F.        Successful Bidder. The Purchaser offered and the Trustee accepted the highest

   and best Qualified Bid (as defined in the Bid Procedures), which is a cash bid in the amount of

   $4,899,425.30 (the “Purchase Pr/ce”), subject to adjustment as set forth in that certain Sales

   Contract, dated as of March 1, 2022 (as amended, supplemented, or otherwise modified from

   time to time, including all Exhibits, Schedules, and Appendices thereto (the “Sales Contract

   attached hereto as Exhibit D by and among the Trustee and Tango Lima Land, LP (the

   “Purchase?"). The Purchaser is approved as the Successful Bidder, as such term is defined in the

   Bid Procedures, for the Property on the terms set forth in the Sales Contract by and among the

   Purchaser and the Trustee.

             G.        Due Authority. The Trustee and Reed have each approved the Sales Contract and

   the consummation of the Sale Transaction on behalf of the Sellers and the Sellers’ sale of the

   Property to the Purchaser has been duly and validly authorized by all necessary corporate or

   other entity action. The Sellers have full power and authority to execute the Sales Contract and

   all other documents contemplated thereby and to consummate the Sale Transaction. No consents

   or approvals, other than those expressly provided for in the Sales Contract, are required for the

   Sellers to consummate the Sale Transaction.

            H.         Business Justification. Approval of the Sales Contract and consummation of the

   Sale Transaction is in the best interests of the Debtors, their estates, creditors, and other parties in




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    interest. The Trustee has demonstrated good, sufficient, and sound business purposes and

   justifications for the sale to the Purchaser pursuant to section 363(b) of the Bankruptcy Code.

    Such business purposes and justifications include, but are not limited to, that the Sales Contract

   and the closing thereon will present the best opportunity to realize the value of the Property and

   avoid decline and devaluation of the Property.

             I.        The consideration to be provided by the Purchaser pursuant to the Sales Contract:

   (i) is fair and reasonable; (ii) is the highest and otherwise best offer for the Property; (iii) will

   provide a greater recovery for Smith’s creditors than would be provided by any other practically

   available alternative; and (iv) constitutes reasonably equivalent value and fair consideration. In

   reaching this determination, the Court has taken into account both the consideration to be

   realized directly by the Smith estate and the indirect benefits of the Sale Transaction for the

   Debtors’ creditors. The Trustee’s determination that the Sales Contract constitutes the highest

   and otherwise best offer for the Property is a result of due deliberation by the Trustee and

   constitutes a valid and sound exercise of the Trustee’s business judgment. Entry of an order

   approving the Sale Motion, Sales Contract and the Sale Transaction is a necessary condition

   precedent to the Purchaser consummating the Sale Transaction.

             J.        Arm’s-Length Sale. The Sales Contract was negotiated, proposed, and entered

   into by the Trustee and the Purchaser without collusion, in good faith, and was the result of

   arm’s-length bargaining between the parties represented by independent counsel. The Trustee

   and the Purchaser have not engaged in any conduct that would cause or permit the Sales Contract

   to be avoided under section 363(n) of the Bankruptcy Code. The Purchaser is not an “insider” or

   “Affiliate” of the Trustee or Debtors, as such terms are defined in the Bankruptcy Code.




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             K.        Good Faith Purchaser. The Purchaser is a good faith purchaser under section

    363(m) of the Bankruptcy Code and, as such, is entitled to all of the protections afforded thereby.

   The Purchaser is acting in good faith within the meaning of section 363(m) in consummating the

   Sale Transaction. The Purchaser has proceeded in good faith in all respects in that, inter aiia:

   (i) the Purchaser recognized that the Trustee was free to deal with any other party interested in

   acquiring the Property; (ii) the Purchaser complied with the provisions of the Bid Procedures

   Order; (iii) the Purchaser’s bid was subjected to the competitive bid procedures set forth in the

   Bid Procedures Order; (iv) no common identity of directors or officers exists among the

   Purchaser, Sellers, and the Debtors, and (v) all payments to be made by the Purchaser and all

   other material agreements or arrangements entered into by the Purchaser and the Sellers in

   connection with the Sale Transaction have been disclosed.

             L.        Legal. Valid and Binding Transfer. The Sellers are the sole and lawful owners

   of the Property, or otherwise have a valid, enforceable property interest in such, and title to (i) an

   undivided 90% interest in the Property is vested in the Debtor Smith’s estate within the meaning

   of section 541(a) of the Bankruptcy Code and (ii) the remaining 10% interest is held by Reed.

   The Sellers have all right, title, and interest in the Property required to transfer and convey the

   Property to the Purchaser. The transfer of the Property to the Purchaser will be a legal, valid,

   and effective transfer of the Property and, except as provided in the Sales Contract, will vest the

   Purchaser with all right, title, and interest of the Sellers to the Property free and clear of all liens,

   claims, encumbrances, and other interests of any kind and every kind whatsoever (including

   liens, claims, encumbrances, and other interests of any Governmental Authority, as defined in

   the Sales Contract) other than those liens, claims, encumbrances, and other interests specifically

   assumed by the Purchaser pursuant to the Sales Contract. The sale of the Property shall also be




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    free and clear of those liens, claims, encumbrances, and other interests that purport to give to any

    party a right or option to effectuate any forfeiture, modification, or termination of the Sellers’

    interests in the Property, or any similar rights.

             M.        The Sales Contract is a valid and binding contract between the Sellers and the

    Purchaser, which is and shall be enforceable according to its terms.

             N.        Free and Clear. The Purchaser would not have entered into the Sales Contract

   and would not consummate the Sale Transaction, thus adversely affecting the Smith estate and

    its creditors, if the transfer of the Property to the Purchaser was not free and clear of all liens,

   claims, encumbrances, and other interests of any kind or nature whatsoever, or if the Purchaser

   would, or in the future could, be liable for any such lien, claim, encumbrance, or other interest.

   A sale of the Property other than one free and clear of any liens, claims, encumbrances, and other

   interests, would adversely impact Smith’s estate and would yield substantially less value for the

   Smith estate.

             O.        Subject to the provisions of this Order and except as may be specifically provided

   in the Sales Contract, the Sellers may sell the Property free and clear of all liens, claims,

   encumbrances, and other interests of any kind or nature whatsoever, because, in each case, one

   or more of the standards set forth in section 363(f)(1) through (5) of the Bankruptcy Code have

   been satisfied. Each entity with a lien, claim, encumbrance, or other interest in the Property to be

   transferred on the date the Sale Transaction is consummated (the “Closing Date”): (i) has,

   subject to the terms and conditions of this Order, consented to the Sale Transaction or is deemed

   to have consented; (ii) could be compelled in a legal or equitable proceeding to accept money

   satisfaction of such lien, claim, encumbrance, or other interest; or (iii) otherwise falls within the

   provisions of section 363(f) of the Bankruptcy Code. Those holders of liens, claims,




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   encumbrances, and other interests who did not object to the Motion are deemed to have

   consented pursuant to section 363(f)(2) of the Bankruptcy Code.

             P.         Not a Sub Rosa Plan. The Sales Contract and Sale Transaction do not constitute

   an impermissible sub rosa chapter 11 plan for which approval has been sought without the

   protections that a disclosure statement would afford.           The Sales Contract and the Sale

   Transaction neither impermissibly restructure the rights of the Debtors’                creditors nor

   impermissibly dictate the terms of a plan for the Debtors.

             Q.         No Fraudulent Transfer. The Sales Contract was not entered into for the

   purpose of hindering, delaying, or defrauding creditors under the Bankruptcy Code or under the

   laws of the United States or any state, territory, or possession thereof, or the District of

   Columbia. The Sellers and the Purchaser are not entering into the Sale Transaction fraudulently.

             R.        No Successor Liability. The Purchaser (i) is not, and shall not be, considered a

   successor in interest to the Debtors, (ii) has not, de facto or otherwise, merged with or into the

   Debtors, (iii) is not a continuation or substantial continuation of the Debtors or any enterprise of

   the Debtors, and (iv) is not holding themselves out to the public as a continuation of the Debtors.

   Except as otherwise specifically provided in the Sales Contract, the transfer of the Property to the

   Purchaser does not and will not subject the Purchaser to any liability whatsoever with respect to

   the operation of the Debtors’ businesses before the Closing Date or by reason of such transfer

   under the laws of the United States, any state, territory, or possession thereof, or the District of

   Columbia, based, in whole or in part, directly or indirectly, on any theory of law or equity,

   including, without limitation, any theory of antitrust, successor, transferee, or assignee liability.




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             S.        Prnmnt        Consummation.   The   Sale   Transaction   must   be   approved   and

   consummated promptly because the Stalking Horse Bidder is seeking to purchase the Property

   via a section 1031 exchange. Time is of the essence in consummating the Sale Transaction.

             T.        The Trustee has demonstrated compelling circumstances and a good, sufficient,

   and sound business purpose and justification for the immediate approval and consummation of

   the transaction contemplated by the Sales Contract, including, without limitation, the Sale

   Transaction.

             U.        Good and Sufficient Cause. There is other good and sufficient cause to grant the

   relief requested in the Motion and approve the Sales Contract and the Sale Transaction.

             V.        Legal and Factual Bases. The findings of fact and conclusions of law herein

   constitute the Court’s findings of fact and conclusions of law for the purposes of Bankruptcy

   Rule 7052, made applicable pursuant to Bankruptcy Rule 9014. To the extent any findings of

   facts are conclusions of law, they are adopted as such. To the extent any conclusions of law are

   findings of fact, they are adopted as such. The Court’s findings shall also include any oral

   findings of fact and conclusions of law made by the Court during or at the conclusion of the Sale

   Hearing.

             NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

                                               General Provisions

             1.        The notice of the Sale Motion and Sale Hearing are approved as being fair,

   reasonable, and adequate under the circumstances, and any additional notice as may otherwise be

   required under state and federal law is hereby deemed satisfied.

             2.        The Motion is GRANTED to the extent set forth herein.




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              3.        All objections to the relief requested in the Motion or the entry of this Order, if

    any, that have not been withdrawn, waived, or settled as announced to the Court at the Sale

    Hearing are denied and overruled in their entirety on the merits, with prejudice.

                                  Approval of Free and Clear Sale of the Property

              4.        The Sales Contract, all exhibits and schedules thereto, and all of the terms and

    conditions thereof are hereby approved. The Trustee shall file final versions of the Sales Contract

    and all other ancillary documents with the Court upon closing the Sale Transaction.

              5.        Pursuant to sections 105, 363, and 365 of the Bankruptcy Code, the Trustee is

    authorized to (i) execute, deliver, and perform under, consummate, and implement the Sales

    Contract and the Sale Transaction together with all additional instruments and documents that

    are requested by the Purchaser and may be reasonably necessary or desirable to implement the

    Sales Contract and the Sale Transaction and (ii) take any and all actions as they deem necessary,

    appropriate, or advisable for the purpose of assigning, transferring, granting, conveying, and

    conferring to the Purchaser, or reducing to possession the Property, or as may be necessary or

    appropriate to the performance of the obligations as contemplated by the Sales Contract and the

    Sale Transaction, including, without limitation, any and all actions reasonably requested by the

    Purchaser which are consistent with the Sales Contract and the Sale Transaction.

              6.        Pursuant to sections 105(a), 363(f), and 365(b) of the Bankruptcy Code, upon the

    Closing Date: (i) the transfer of the Property to the Purchaser pursuant to the Sales Contract shall

    constitute a legal, valid, and effective transfer of the Property and shall vest the Purchaser with

    all right, title, and interest in and to the Property; (ii) the Property shall be transferred to the

    Purchaser free and clear of all liens, claims, encumbrances, and other interests of any kind and

    every kind whatsoever (including, but not limited to, any liens, claims, encumbrances, and other

    interests of any Governmental Authority, any claims or assertions based on any theory of


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    successor or transferee liability, and any restriction on the use, transfer, receipt of income, or

    other exercise of any attributes of ownership of the Property) other than those liens, claims,

    encumbrances, and other interests specifically assumed by the Purchaser pursuant to the Sales

    Contract; and (iii) all Persons are forever prohibited and enjoined from commencing or

    continuing in any manner any action or other proceeding, whether in law or equity, against

    Purchaser with respect to any such liens, claims, encumbrances, and other interests (including,

    but not limited to, any liens, claims, encumbrances, and other interests of any Governmental

    Authority (as defined in the Sales Contract), any claims or assertions based on any theory of

    successor or transferee liability, and any restriction on the use, transfer, receipt of income, or

    other exercise of any attributes of ownership of the Property).

              7.        All liens, claims, encumbrances, and other interests shall attach to the proceeds of

    the sale with the same nature, validity, and priority as such liens, claims, encumbrances, or other

    interests encumbered the Property prior to the proposed sale and shall be distributed pursuant to

    further order of the Court.

              8.        On the Closing Date, this Order shall be construed and shall constitute for any and

    all purposes a full and complete general assignment, conveyance, and transfer of the Sellers’

    interest in the Property or a bill of sale transferring good and marketable title in the Property.

              9.        Pursuant to the Sales Contract and this Order, the transfer and assignment of the

    Property shall be effectuated on the terms set forth therein and herein, and shall not be restricted

    or prohibited, notwithstanding any alleged approval rights, consent rights, preferential purchase

    rights, rights of purchase, rights of first refusal, rights of first offer, or similar rights with respect

    to the Sellers’ transfer, sale, vesting, assumption, and/or assignment of the Property.




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               10.     This Order is and shall be effective as a determination that all liens, claims,

    encumbrances, and other interests shall be and are, without further action by any Person,

    unconditionally released, discharged, and terminated with respect to the Property as of the

    Closing Date, except as may otherwise be set forth in the Sales Contract.

              11.       Except as otherwise provided herein or in the Sales Contract, on the Closing Date,

    Smith’s creditors are authorized and directed to execute such documents and instruments and to

    take all other actions as may be reasonably necessary to document and effectuate the release of

    their liens, claims, encumbrances, and other interests in the Property, if any, as such liens,

    claims, encumbrances, and other interests may have been recorded or may otherwise exist. If any

    such creditor fails to execute any such documents or instruments or take any such actions, the

    Trustee is authorized to execute such documents and instruments and to take such actions on

    behalf of the creditor so as to document the release of such liens, claims, encumbrances, and

    other interests.

                                             No Successor Liability

              12.       The Purchaser and its affiliates, successors, and assigns shall not be deemed, as a

    result of any action taken in connection with the transfer of the Property, to (i) be a successor to

    the Debtors or the estates, (ii) have, de facto or otherwise, merged or consolidated with or into

    the Debtors or the estates, or (iii) be a continuation or substantial continuation of the Debtors or

    any enterprise of the Debtors, and the Purchaser shall have no successor, transferee or vicarious

    liability of any kind or character, including, but not limited to, under any theory of foreign,

    federal, state or local antitrust, environmental, successor, tax, assignee or transferee liability,

    labor, product liability, employment, de facto merger, substantial continuity, or other law, rule,

    or regulation, whether known or unknown as of the Closing Date, now existing or hereafter

    arising, whether asserted or unasserted, fixed or contingent, liquidated or unliquidated with


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    respect to the Debtors or any obligations of the Debtors arising prior to the Closing Date,

    including, but not limited to, liabilities on account of any taxes or other Governmental Authority

    fees, contributions, or surcharges arising, accruing, or payable under, out of, in connection with,

    or in any way relating to, the operation of the Property prior to the Closing Date. Except as

    otherwise provided herein or in the Sales Contract, the transfer of the Property to the Purchaser

    pursuant to the Sales Contract shall not result in the Purchaser or its affdiates, members, or

    shareholders, or the Property, having any liability or responsibility for, or being required to

    satisfy in any manner, whether in law or in equity, whether by payment, setoff or otherwise,

    directly or indirectly, (i) any claim against the Debtors or against any insider of the Debtors, or

    (ii) any lien, claim, encumbrance, or other interest.

              13.       Upon the Closing, and except as otherwise expressly provided in the Sales

    Contract, the Purchaser shall not be liable for any claims against, and liabilities of, the Debtors or

    any of the Debtors’ predecessors or affdiates.

              14.       The Purchaser has given substantial consideration under the Sales Contract to the

    Smith estate. The consideration given by the Purchaser shall constitute valid and valuable

    consideration for the releases of any potential claims of successor or transferee liability of the

    Purchaser, which releases shall be deemed to have been given in favor of the Purchaser by all

    holders of liens, claims, encumbrances, and other interests against the Debtors or the Property.

                                            No Fraudulent Transfer

              15.       The consideration provided by the Purchaser under the Sales Contract constitutes

    (i) reasonably equivalent value under the Bankruptcy Code and the Uniform Fraudulent Transfer

    Act, (ii) fair consideration under the Uniform Fraudulent Conveyance Act, and (iii) reasonably

    equivalent value, fair consideration, and fair value under any other applicable Laws of the United

    States, any state, territory, or possession thereof, or the District of Columbia. The consideration


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    provided by the Purchaser for the Property under the Sales Contract is fair and reasonable and

    may not be avoided under section 363(n) of the Bankruptcy Code.

                                                  Good Faith

              16.       The Sales Contract and the Sale Transaction are undertaken by the Purchaser

    without collusion and in good faith, as that term is used in section 363(m) of the Bankruptcy

    Code, and accordingly, the reversal or modification on appeal of the authorization provided

    herein to consummate the Sales Contract and the Sale Transaction shall not affect the validity of

    the sale of the Property to the Purchaser, unless this Order is duly stayed pending such appeal.

    The Purchaser is a good faith purchaser of the Property and is entitled to all of the benefits and

    protections afforded by section 363(m) of the Bankruptcy Code.

                                        Rejection of Unexpired Leases

              17.       The Hunting Lease is rejected pursuant to section 365 of the Bankruptcy Code as

    of the Closing Date. The tenant shall have thirty (30) days from the date of this Order to file a

    rejection damages claim, if any.

                                             Additional Provisions

              18.       This Order is and shall be binding upon and shall govern acts of all entities

    including, without limitation, all filing agents, filing officers, title agents, title companies,

    recorders of mortgages, recorders of fees, registrars of deeds, administrative agencies,

    governmental departments, secretaries of state, federal, state, and local officials, and all other

    Persons, who may be required by operation of law, the duties of their office, or contract, to

    accept, file, register, or otherwise record or release any documents or instruments that reflect that

    the Purchaser is the assignee and owner of the Property free and clear of all liens, claims,

    encumbrances, and other interests (all such entities being referred to as “Recording Officers”).

    All Recording Officers are authorized and specifically directed to strike recorded Liens, claims,


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    encumbrances, and interests against the Property recorded prior to the date of this Order unless

    the Sales Contract expressly provides that the Purchaser is acquiring the Property subject to such

    claims, Liens, and interests.

              19.       Following the Closing Date, no holder of any lien, claim, encumbrance, or other

    interest on the Property or other party in interest may interfere with the Purchaser’s use and

    enjoyment of the Property based on or related to such lien, claim, encumbrance, or other interest,

    or any actions that the Trustee or Debtors may take in their chapter 11 cases, and no party may

    take any action to prevent, interfere with or otherwise enjoin consummation of the Sale

    Transaction.

              20.       Except as expressly permitted or otherwise specifically provided by the Sales

    Contract or this Order, all persons and entities, including, but not limited to, all debt security

    holders, equity security holders, governmental, tax and regulatory authorities, lenders, trade and

    other creditors, holding interests of any kind or nature whatsoever against or in the Debtor or the

    Property (whether legal or equitable, secured or unsecured, matured or unmatured, contingent or

    non-contingent, senior or subordinated), arising under or out of, in connection with, or in any

    way relating to, the Debtors, the Property, the ownership or operation of the Property prior to the

    closing of the sale, or the sale of the Property are forever barred, estopped, and permanently

    enjoined from asserting against the Purchaser, its successors or assigns, its property, or the

    Property, such persons’ or entities’ interests.

              21.      No bulk sales law or any similar law of any state or other jurisdiction shall apply

    in any way to the transactions authorized herein, including the Sales Contract and the Sale

    Transaction.




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              22.        The terms and provisions of the Sales Contract, the ancillary agreements, and this

    Order shall be binding in all respects upon, and shall inure to the benefit of, the Trustee, the

    Purchaser, and its respective affiliates, successors, and assigns, the Debtors’ estates, all creditors

    of (whether known or unknown), and any affected third parties, notwithstanding the dismissal of

    the Debtors’ cases or conversion of the Debtors’ cases to cases under chapter 7, as to which

    trustee such terms and provisions likewise shall be binding and not subject to rejection or

    avoidance. The Sales Contract, the Sale Transaction and this Order shall be enforceable against

    and binding upon, and shall not be subject to rejection or avoidance by, any chapter 7 trustee

    appointed in the Chapter 11 Cases. Further, nothing contained in any plan confirmed in these

    Chapter 11 Cases or any order confirming any plan or any other order entered in these cases shall

    conflict with or derogate from the provisions of the Sales Contract or the terms of this Order.

              23.        The Sales Contract and any related agreements, documents, or other instruments

    may be amended by the parties in a writing signed by such parties without further order of the

    Court, provided that any such amendment does not have a material adverse effect on the Debtors

    or the Debtors’ estates.

              24.        The failure to include specifically any particular provision of the Sales Contract in

    this Order shall not diminish or impair the effectiveness of such provision, it being the intent of

    the Court that the Sales Contract be authorized and approved in its entirety.

              25.        To the extent of any inconsistency between the provisions of this Order, the Sales

    Contract, and any documents executed in connection therewith, the provisions contained in this

    Order, the Sales Contract, and any documents executed in connection therewith shall govern, in

    that order.




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              26.       Nothing in this Order, the Sales Contract or any document executed in connection

    with the consummation thereof shall authorize or constitute a transfer of title to property which is

    excluded from the property of the Debtors’ estates pursuant to section 541(b)(4) of the

    Bankruptcy Code.

              27.       The provisions of this Order are non-severable and mutually dependent. Headings

    are included in this Order for ease of reference only.

              28.       The provisions of this Order authorizing the sale and assignment of the Property

    free and clear of all liens, claims, encumbrances, and other interests shall be self-executing, and

    notwithstanding the failure of the Sellers, the Purchaser, or any other party to execute, file, or

    obtain releases, termination statements, assignments, consents, or other instruments to effectuate,

    consummate and/or implement the provisions hereof, all liens, claims, encumbrances, and other

    interests (other than those expressly assumed by the Purchaser or permitted to survive under the

    Sales Contract) on or against such Property, if any, shall be deemed released, discharged, and

    terminated.

              29.       From time to time, as and when requested by any Party, each Party to the Sales

    Contract shall execute and deliver, or cause to be executed and delivered, all such documents and

    instruments and shall take, or cause to be taken, all such further or other actions as such other

    party may reasonably deem necessary or desirable to consummate the Sale Transaction,

    including such actions as may be necessary to vest, perfect, or confirm, of record or otherwise, in

    Purchaser its right, title, and interest in and to the Property.

              30.      Notwithstanding the provisions of Bankruptcy Rule 6004(h) and 6006(d), this

    Order shall be effective and enforceable immediately and shall not be stayed. Time is of the

    essence in closing the Sale Transaction and the Trustee and the Purchaser intend to close the Sale




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    Transaction as soon as practicable. Any party objecting to this Order must exercise due diligence

    in filing an appeal and pursuing a stay, or risk its appeal being dismissed as moot.

              31.       The Trustee is authorized to pay the closing costs set forth on Exhibit 2 attached

    hereto at the closing of the Sale Transaction.

              32.       In the event this Order is subject to Appeal, and as a result of such Appeal, the

    Sale Transaction is thereafter unwound and title to the Property is divested from Purchaser

    and/or re-vested in the Sellers (such resulting divestiture, a “Divestiture”), Purchaser shall be

    entitled to a full and immediate refund of the Purchase Price from Sellers in cash, in

    proportionate share to their respective ownership interests (Smith’s 90% refund obligation, the

    “Smith Refund ObligationReed’s 10% refund obligation, the “Reed Refund Obligation,” and

    together with the Smith Refund Obligation, the “Refund Obligations”). The Smith Refund

    Obligation shall be fully secured by a priming, first priority lien on the Smith estate’s interest in

    the Property, which shall be deemed to automatically arise upon the triggering of the Smith

    Refund Obligation. The Reed Refund Obligation shall be secured by a priming, first priority lien

    on Reed’s interest in the Property, which shall be deemed to automatically arise upon the

    triggering of the Reed Refund Obligation. Sellers shall discharge the Refund Obligations fully

    and finally within 60 days following the entry of a final, non-appealable order providing for the

    Divestiture of the Property. Should the Sellers not timely, fully and finally discharge the Refund

    Obligations, then the Purchaser may seek an order of this Court judicially foreclosing their

    priming liens, and/or pursue a non-judicial foreclosure in accordance with the terms of the then

    current Texas State Bar form of deed of trust, which will be deemed incorporated into this Order

    to govern the priming liens (with the right of the Purchaser to appoint substitute trustees). A copy

    of this Order shall be recorded in the real property records of the County in which the Property is




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    located; if an Appeal is filed, but the Appeal (including any subsequent Appeals of the same

    subject matter) is dismissed or denied or the sale authorized by this Order is affirmed or

    otherwise unaffected by said Appeal(s) on account of paragraph 16 of this Order and the

    Property is thus not subject to Divestiture, then the Sellers may record an affidavit so stating.

    Nothing in this Order or as to this specific provision of this Order shall be considered to affect

    paragraph 16 of this Order nor be in any way be considered with regard to any determination of

    what is required to secure a stay pending appeal, if a stay pending appeal is sought by any

    objecting party.

              33.      This Court shall retain exclusive jurisdiction to, among other things, interpret,

    implement, and enforce the terms and provisions of this Order and the Sales Contract, all

    amendments thereto, and any waivers and consents thereunder, and each of the agreements

    executed in connection therewith, including, but not limited to, retaining jurisdiction to

    (i) compel delivery of the Property to the Purchaser; (ii) interpret, implement, and enforce the

    provisions of this Order and the Sales Contract; (iii) adjudicate, if necessary, any and all disputes

    arising out of, concerning, or otherwise relating in any way to the Sale Transaction; and

    (iv) protect the Purchaser against any Liens, encumbrances, claims, and interests in the Property

    of any kind or nature whatsoever.

                                                      ###

    ORDER SUBMITTED BY:
    Waller Lansden Dortch & Davis LLP
    Morris D. Weiss
    State Bar No. 21110850
    100 Congress Avenue, Suite 1800
    Austin, Texas 78701
    (512) 685-6400
    (512) 685-6417 (FAX)
    morris.weiss@wallerlaw.com
    COUNSEL FOR TRUSTEE



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                                     EXHIBIT A

                                    Sales Contract
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                              PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)                                                                 n-cm-?ci2\
    TDCP                                  FARM AND RANCH CONTRACT                                                                                     tar
    I flCV                                                                                                                                            BUUAUfUUatfUl
        II »U*U tQWKMiu   ,              . ,                     Grmjary (L Milliuan, m his qapatity a<i Chapter U thuitoe for fhe astate o* OmyUMvq^PiiTtfi*trait
     PARTIES I ne parties to tnis contract are owner of «i 90% tmrlivlUe.d mutest, »md □■mgrt ic, nwrmr of a 10% muln/irtod tnlsresi
     (Seller) and Tango Lima Land, LP__________ _____________________ (Buyer), Seller agrees to
     sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined below,
   . PROPERTY: The land. Improvements, accessories and crops except for the exclusions and
     reservations, are collectively referred to as the Property (Property),
    A, LAND: The land situated In the County of Bosque______ _________________ ______ ._, Texas,
        described as follows: 913.32 +/- located on County Road 3365, as more particularly described on Exhibit A.
        The exact legal description and boundaries to be defined by the survey to be obtained as set forth in ihe Addendum.
       or as described on attached exhibit, also known as County Road 3365, Bosque County, Texas           .
       (address/zip code), together with all rights, privileges, and appurtenances pertaining thereto,
       Including but not limited to: water rights, claims, permits, strips and gores, easements, and
       cooperative or association memberships.
    B, IMPROVEMENTS:
        (1) FARM and RANCH IMPROVEMENTS: The following permanently installed arid built-’in items,
            If any: windmills, tanks, barns, pens, fences, gates, sheds, outbuildings, and corrals.
       (2) RESIDENTIAL IMPROVEMENTS: The house, garage, and all other fixtures and improvements
            attached to the above-described real property, Including without (Imitation, the following
            permanently installed and built-in items, if any: ail equipment and appliances,
            valances, screens, shutters, awnings, wall-to-wall carpeting, mirrors, ceiling fans, attic fans,
            mall boxes, television antennas, mounts and brackets for televisions and speakers, heating
            and air-conditioning units, security and fire detection equipment, wiring, plumbing ana
            lighting fixtures, chandeliers, water softener system, kitchen equipment, garage door
            openers, cleaning equipment, shrubbery, landscaping, outdoor cooklnq equipment, and all
            other property attached to the above described real property.
    C. ACCESSORIES:
       (I) FARM AND RANCH ACCESSORIES: The following described related accessories: (check boxes
            of conveyed accessories) □ portable buildings LI hunting blinds □ game feeders
            0 livestock feeders and . troughs w) irrigation equipment £3 fuel tanks £3 submersible
            pumps 0 pressure tanks 0 corrals 12 gates 0 chutes □ other;_____ _________________
      (2) RESIDENTIAL ACCESSORIES: The following described related accessories, if any; window air
          conditioning units, stove, fireplace screens, curtains and rods, blinds, window shades,
          draperies and rods, door keys, mailbox keys, above ground pool, swimming pool equipment
           and maintenance accessories, artificial fireplace logs, security systems that are not fixtures,
           arid controls for; (I) garage doors, (li) entry gates, and (III) other Improvements arid
          accessories. "Controls" Includes Seiler's transferable rights to the (I) software and
          applications used to access and control improvements or accessories, and (II) hardware used
          solely to control Improvements or accessories.
   D. CROPS: Unless otherwise agreed In writing, Seller has the right to harvest all growing crops
      until delivery of possession or the Property,
   E. EXCLUSIONS: The following Improvements, accessories, and crops will be retained by Seller
      and must be removed prior to delivery of possession: See Schedule 2.E. attached hereto.___________ __
    F. RESERVATIONS: Any reservation for oil, gas, or other minerals, water, timber, or other interests
       Is made in accordance with an attached addendum.
 3. SALES PRICE:
   A, Cash portion of Sales Price payable by Buyer at closing......................$____________4,900,000 00
   B. Sum of all financing described in the attached: U Third Party Financing Addendum,
       □ Loan Assumption Addendum, □ Seller Financing Addendum                                  $______ __
   C. Sales Price (Sum of A and B)........... ........... ................................... . $___________ 4,900,000.00
   D, The Sales Price 0 will □ will not be adjusted based on the survey required by Paragraph 6C.
       If the Sales Price is adjusted, the Sales Price will be calculated on the basis or $ ________5.365.00
       per acre, If the--Sales Price L, adjusted—by • mo.0 than J.0’Tt*., oithci poity may terminal'.';' Lhir*
       sonlreet by providing written notlee te-The-ether party within______ days--after—the
       terminating—party—p^eives-the—survey. If neither party terminates this contract or if the
          rlance Is 10% or less, the adjustment will be made to the amount In U 3A U 3B
       O   proportionately to 3A and 3B.
 4. LEASES: Except as disclosed in this contract, Seller is not aware of any leases affecting
    the Property. After the Effective Date, Seller may not, without Buyer's written consent, create a
    new lease, amend any existing lease, or convey any Interest in the Property, (Check all applicable
    boxes)
 □ A. RESIDENTIAL LEASES: The Property Is subject: to one or more residential leases arid the
       Addendum Regarding Residential Leases Is attached to this contract,
 □ B. FIXTURE LEASES: Fixtures on the Property are subject to one or more fixture leases (for
       example, solar panels, propane tanks, water softener, security system) and the Addendum
       Regarding Fixture Leases is attached to this contract.
 □ C. NATURAL RESOURCE LEASES: "Natural Resource Lease" means an existing oil arid gas, mineral,
       water, wind, or other natural resource lease affecting the Property to which Seller Is a party ,
Initialed for identification by Buyer______ ______ and Seller                                                                           TREC NO. 25-14
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                                                      (Address of Property)

    □ (1) Seller has delivered to Buyer a copy of all the Natural Resource Leases.
    □ (2) Seller has not delivered to Buyer a copy of all the Natural Resource Leases. Seller shall
           provide to Buyer a copy of all the Natural Resource Leases within 3 days after the Effective
           Date. Buyer may terminate the contract within______days after the date the Buyer
           receives all the Natural Resource Leases and the earnest money shall be refunded to Buyer.
 5. EARNEST MONEY AND TERMINATION OPTION:
    A. DELIVERY OF EARNEST MONEY AND OPTION FEE: Within 3 days after the Effective Date, Buyer
       must deliver to Thomas Title & Escrow           _______                , as escrow agent, at
       1800 West Loop South, Suite 750, Houston, TX 77027_______ (address): $__________ 500,000.00 as earnest-
       money end4________ _                      a&T-he-Qp&ervRee. The earnest money aricTOptrefi-Tee shall
       be made payable to escrow agent and may be paid separately or combined in a single payment.
       (1) Buyer shall deliver additional earnest money of $____________ 0,00 to escrow agent within
               o    days after the Effective Date of this contract.
       (2) If the last day to deliver the earnest money, Option Fee, or the additional earnest money
           falls on a Saturday, Sunday, or legal holiday, the time to deliver the earnest money, Option
           Fee, or the additional earnest money, as applicable, is extended until the end of the next day
           that Is not a Saturday, Sunday, or legal holiday.
       (3) The amount(s) escrow agent receives under this paragraph shall be applied first to the
           Option Fee, then to the earnest money, and then to the additional earnest money,
       (4) Buyer authorizes escrow agent to release and deliver the Option Fee to Seller at any time
           without further notice to or consent from Buyer, and releases escrow agent from liability for
           delivery of the Option Fee to Seller. The Option Fee will be credited to the Sales Price at
           closing.
   B. TERMINATION —OPTIONFor- nominal--c©Bsi€!eratl0Ry-~t-bc—reeefpt—of—-which- -SelJee—aek'RowIcidgcs,
       aRd-Suyer's af f'eement-to-pay-the-Opttem Fee- wlfehlmThe-t4me-pequiredr-Seller-§fants-BuyeF4he
       unrestricted - fight-.-t^}~4GFr«lRate—#i'ls~eonfeFaet~by-§iving notTee-ef-termlRatlQR to -Seller-within
        ________ days- after- the-Effective Date-of—this-- contract (Option'- Period^—Notices under-this
       speafte&r- If Buyerijlves-netice-ef termination-within- the t-lme prescribed-:-(i-) the Option Fee will
       RoMje-mfuRded-and-esefow- agent-shall-release-aRy- Gptien-Fee-FemalRiRf-with -eseFOVv -ageRt-to
       Sellei-y-and- (it)-any earnest-money wllf berefiinded to Buyer.
    C. FAILURE TO TIMELY DELIVER EARNEST MONEY; If Buyer falls to deliver the earnest money
       within the time required, Seller may terminate this contract or exercise Seller's remedies under
       Paragraph 15, or both, by providing notice to Buyer before Buyer delivers the earnest money.
    D. FMLURE-T0-TI MEL-Y-DEtlVER-QP-TION-Fe6T--If -no-del ter-amount-fe-stated-as--the-Optten- Fee or-if
       BuyeiMaljs-t-©~delivej“-4be~--0pU0R---'Fee---wltMn' the-t4me-~r-equired—Buyer-shell -not have—the
       unFestFtete4-r4gkt4e-tetTntnate-tNS"€ontra€t under thls-PafagFapR-5.
    E. TIME: Time is of the essence for this paragraph and strict compliance with the time for
       performance is required.
 6. TITLE POLICY AND SURVEY:                            _
   A. TITLE POLICY: Seller shall furnish to Buyer at □ Seller's Su Buyer's expense an owner policy
       of title Insurance (Title Policy) issued by;________ Thomas Title & Escrow_______ (Title Company)
       In the amount of the Sales Price, dated at or after closing, insuring Buyer against loss under the
       provisions of the Title Policy, subject to the promulgated exclusions (including existing building
       and zoning ordinances) and the following exceptions:
       (1) The standard printed exception for standby fees, taxes and assessments.
       (2) Liens created as part of the financing described in Paragraph 3.
       (3; Reservations or exceptions otherwise permitted by this contract or as may be approved by
           Buyer in writing.
       (4) The standard printed exception as to marital rights.
       (5) The standard printed exception as to waters, tldelands, beaches, streams, and related
           matters.
       (6) The standard printed exception as to discrepancies, conflicts, shortages in area or boundary lines,
           encroachments or protrusions, or overlapping improvements;
           (1) will not be amended or deleted from the title policy; or
       3   (if) will be amended to read, "shortages In area" at the expense of m Buyer □ Seller.
       (7) The exception or exclusion regarding minerals approved by the Texas Department of
           Insurance.
   B. COMMITMENT: Within 20 days after the Title Company receives a copy of this contract, Seller
       shall furnish to Buyer a commitment for title insurance (Commitment) and, at Buyer's expense,
       legible copies of restrictive covenants and documents evidencing exceptions in the Commitment
       (Exception Documents) other than the standard printed exceptions. Seller authorizes the Title
       Company to deliver the Commitment and Exception Documents to Buyer at Buyer's address
       shown In Paragraph 21. If the Commitment and Exception Documents are not delivered to
       Buyer within the specified time, the time for delivery will be automatically extended up to 15
       days or 3 clays before the Closing Date, whichever is earlier. If the Commitment and Exception
       Documents are not delivered within the time required, Buyer may terminate this contract and
       the earnest money will be refunded to Buyer,
Initialed for Identification by Buyer                     and Seller                                    TREC NO. 25-14
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                                                    (Address of Property)

    C. SURVEY: The survey must be made by a registered professional land surveyor acceptable to the
       Title Company and Buyer's lender(s), (Check one box only):
    Q (1) Within______ days after the Effective Date of this contract, Seller shall furnish to Buyer and
           Title Company Seller's existing survey of the Property and a Residential Real Property
           Affidavit promulgated by the Texas Department of Insurance (T-47 Affidavit). If Seller fails to
           furnish the existing survey or affidavit within the time prescribed, Buyer shall
           obtain a new survey at Se ller's expense no later than 3 days prior to Closing Date.
           The existing survey Of will □ will not be recertified to a date subsequent to the Effective Date
           of this contract at the expense of □ Buyer □ Seller. If the existing survey is not approved by
             e Title Company or Buyer's lender(s), a new survey will be obtained at the expense of
           B   Buyer □ Seller no later than 3 days prior to Closing Date.
    □ (2) Within ______ _ days after the Effective Date of this contract, Buyer shall obtain a new survey
           at Buyer's expense. Buyer is deemed to receive the survey on the date of actual receipt or
           the date specified In this paragraph, whichever is earlier.
    □ (3) Within____ _ days after the Effective Date of this contract, Seller, at Seller's expense shall
           furnish a new survey to Buyer.
    □ (4) No survey Is required.
    D, OBJECTIONS: Buyer may object in writing to (i) defects, exceptions, or encumbrances to title
       disclosed on the survey other than items 6A(1) through (5) above; or disclosed in the
       Commitment other than items 6A(i) through (7) above; (ii) any portion of the Property lying In a
       special flood hazard area (Zone V or A) as shown on the current Federal Emergency Management
       Agency map; or (iii) any exceptions which prohibit the following use or activity: None_________ __

       Buyer must object the earlier of (i) the Closing Date or (ii)     3 days after Buyer receives the
       Commitment, Exception Documents, and the survey. Buyer's failure to object within the time
       allowed will constitute a waiver of Buyer's right to object; except that the requirements in
       Schedule C of the Commitment are not waived by Buyer. Provided Seller is not obligated to incur
       any expense, Seller shall cure any timely objections of Buyer or any third party lender within 15
       days after Seller receives the objections (Cure Period) ana the Closing Date will be extended as
       necessary. If objections are not cured within the Cure Period, Buyer may, by delivering notice to
       Seller within 5 days after the end of the Cure Period: (i) terminate this contract and the earnest
       money will be refunded to Buyer; or (ii) waive the objections. If Buyer does not terminate within
       the time required, Buyer shall be deemed to have waived the objections. If the Commitment or
       Survey is revised or any new Exception Document(s) is delivered, Buyer may object to any new
       matter revealed in the revised Commitment or Survey or new Exception Documents) within the
       same time stated in this paragraph to make objections beginning when the revised Commitment,
       Survey, or Exception Document(s) Is delivered to Buyer.
    E, EXCEPTION DOCUMENTS: Prior to the execution of the contract, Seller has provided Buyer with
       copies of the Exception Documents listed below or on the attached exhibit. Matters reflected in
       the Exception Documents listed below or on the attached exhibit will be permitted exceptions In
       the Title Policy and will not be a basis for objection to title;           „     ,, „ ,
                            Document                  '             Date          Recording Reference
          See attached current Title Commitment on Exhibit   B.



   F. SURFACE LEASES: Prior to the execution of the contract, Seller has provided Buyer with copies of
      written leases and given notice of oral leases (Leases) listed below or on the attached exhibit
      The following Leases will be permitted exceptions in the Title Policy and will not be a basis for
      objection to title:           __________________ __ _______________ __________________ * 1 2 3 4

   G. TITLE NOTICES:
      (1) ABSTRACT OR TITLE POLICY: Broker advises Buyer to have an abstract of title covering the
          Property examined by an attorney of Buyer's selection, or Buyer should be furnished with or
          obtain a Title Policy. If a Title Policy is furnished, the Commitment should be promptly
          reviewed by an attorney of Buyer's choice due to the time limitations on Buyer's right: to
          object.
      (2) STATUTORY TAX DISTRICTS: If the Property is situated in a utility or other statutorily created
          district providing water, sewer, drainage, or flood control facilities and services, Chapter 49,
          Texas Water Code, requires Seller to deliver and Buyer to sign the statutory notice relating to
          the tax rate, bonded indebtedness, or standby fee of the district prior to final execution of this
          contract.
      (3) TIDE WATERS: If the Property abuts the tidally Influenced waters of the state, §33.135,
          Texas Natural Resources Code, requires a notice regarding coastal area property to be
          included in the contract. An addendum containing the notice promulgated by TREC or
          required by the parties must be used.
      (4) ANNEXATION: If the Property is located outside the limits of a municipality, Seller notifies
          Buyer under §5.011, Texas Property Code, that the Property may now or later be included In
Initialed for identification by Buyer______ _____ and Seller                                            TREC NO, 25-14
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                                                      (Address of Property)

               the extraterritorial jurisdiction of a municipality and may now or later be subject to
               annexation by the municipality. Each municipality maintains a map that depicts its
               boundaries and extraterritorial jurisdiction. To determine if the Property is located within a
               municipality's extraterritorial jurisdiction or is likely to be located within a municipality's
               extraterritorial jurisdiction, contact al! municipalities located in the general proximity of the
               Property for further information.
          (5) PROPERTY LOCATED IN A CERTIFICATED SERVICE AREA OF A UTILITY SERVICE PROVIDER:
               Notice required by §13.257, Water Code: The real property, described in Paragraph 2, that
               you are about to purchase may be located in a certificated water or sewer service area,
               which is authorized by law to provide water or sewer service to the properties In the
               certificated area. If your property is located in a certificated area there may be special costs
               or charges that you will be required to pay before you can receive water or sewer service.
              There may be a period required to construct lines or other facilities necessary to provide
               water or sewer service to your property. You are advised to determine if the property Is in a
               certificated area and contact the utility service provider to determine the cost that you will
               be required to pay and the period, if any, that is required to provide water or sewer service
              to your property. The undersigned Buyer hereby acknowledges receipt of the foregoing
               notice at or before the execution of a binding contract for the purchase of the real property
              described in Paragraph 2 or at closing of purchase of the real property,
          (6) PUBLIC IMPROVEMENT DISTRICTS: If the Property is in a public improvement district, Seller
               must give Buyer written notice as required by §5.014, Property Code. An addendum
               containing the required notice shall be attached to this contract. _       _
          (7) TEXAS AGRICULTURAL DEVELOPMENT DISTRICT: The Property □ Is 0 Is not located in a
              Texas Agricultural Development District. For additional Information contact the Texas
               Department of Agriculture
          (8) TRANSFER FEES: If the Property is subject to a private transfer fee obligation, §5.205,
               Property Code, requires Seiler to notify Buyer as follows: The private transfer fee obligation
              may be governed by Chapter 5, Subchapter G of the Texas Property Code.
         (9) PROPANE GAS SYSTEM SERVICE AREA: If the Property is located in a propane gas system
              service area owned by a distribution system retailer, Seller must give Buyer written notice as
              required by §141.010. Texas Utilities Code. An addendum containing the notice approved by
              TREC or required by the parties should be used.
        (10)NOTICE OF WATER LEVEL FLUCTUATIONS: If the Property adjoins an impoundment of water,
              including a reservoir or lake, constructed and maintained under Chapter 11, Water Code,
              that has a storage capacity of at least 5,000 acre-feet at the impoundment's normal
              operating level. Seller hereby notifies Buyer: "The water level of the impoundment of water
              adjoining the Property fluctuates for various reasons, Including as a result of: (1) an entity
              lawfully exercising its right to use the water stored in the impoundment; or (2) drought or
              flood conditions."
  7. PROPERTY CONDITION:
      A. ACCESS, INSPECTIONS AND UTILITIES: Seller shall permit Buyer and Buyer's agents access to
         the Property at reasonable times. Buyer may have the Property inspected by inspectors selected
          by Buyer and licensed by TREC or otherwise permitted by law to make inspections. Any
          hydrostatic testing must be separately authorized by Seller in writing. Seller at Seller's expense
         shall immediately cause existing utilities to be turned on and shall keep the utilities on during
         the time this contract is in effect .
         NOTICE: Buyer should determine the availability of utilities to the Property suitable to
         satisfy Buyer s needs.
      B, SELLER'S DISCLOSURE NOTICE PURSUANT TO §5.008, TEXAS PROPERTY CODE (Notice):
         (Check one box only)
    a    (1) Buyer has received the Notice
         (2) Buyer has not received the Notice. Within                     days after the Effective Date of this
         contract, Seller shall deliver the Notice to Buyer IF Buyer does not receive the Notice, Buyer
         may terminate this contract at any time prior to the closing and the earnest money will be
         refunded to Buyer. If Seller delivers the Notice, Buyer may terminate this contract for any
         reason within 7 days after Buyer receives the Notice or prior to the closing, whichever first
         occurs, and the earnest money will be refunded to Buyer.
      kJ (3) The Texas Property Code does not require this Seller to furnish the Notice.
      C. SELLER'S DISCLOSURE OF LEAD-BASED PAINT AND LEAD-BASED PAINT HAZARDS is required by
         Federal law for a residential dwelling constructed prior to 1978.
      D, ACCEPTANCE OF PROPERTY CONDITION; "As Is" means the present condition of the Property
         with any and all defects and without warranty except for the warranties of title and the
         warranties In this contract. Buyer's agreement to accept the Property As Is under Paragraph 7D
         (1) or (2) does not preclude Buyer from inspecting the Property under Paragraph /A, from
         negotiating repairs or treatments in a subsequent amendment, or from terminating this contract
         during the Option Period, if any.
         (Check one box only)
    a    (1) Buyer accepts the Property As Is.
         (2) Buyer accepts the Property As Is provided Seller, at Seller's expense, shall complete the
              following specific repairs and treatments: _____________ _______________________ ____
             (Do not insert general phrases, such as "subject to inspections," that do not IdenWy
              specific repairs and treatments,)
     E. COMPLETION OF REPAIRS: Unless otherwise agreed in writing: (I) Seller shall complete all
         agreed repairs and treatments prior to the Closing Date; and (iij all required permits must be
         obtained, and repairs and treatments must be performed by persons who are licensed to provide
         such repairs or treatments or, If no license is required by law, are commercially engaqed in the
         trade of providing such repairs or treatments, At Buyers election, any transferable warranties
Initialedreceived    by Seller with
           for Identification        respect to the
                               by Buyer,_____       repairs
                                                _______  andwill be transferred ______
                                                             Seller_________     to Buyer at Buyer's
                                                                                                   TRECexpense.
                                                                                                         NO. 25-14
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         If Seller falls to complete any agreed repairs prior to the Closing Date, Buyer may exercise
        remedies under Paragraph 15 or extend the Closing Date up to 5 days If necessary for Seller to
        complete repairs.
     F. LENDER REQUIRED REPAIRS AND TREATMENTS: Unless otherwise agreed in writing, neither
        party is obligated to pay for lender required repairs, which Includes treatment for wood
        destroying insects. If the parties do not agree to pay for the lender required repairs or
        treatments, this contract will terminate and the earnest money will be refunded to Buyer. If the
        cost of lender required repairs and treatments exceeds 5% of the Sales Price, Buyer may
        terminate this contract and the earnest money will be refunded to Buyer.
     G. ENVIRONMENTAL MATTERS; Buyer is advised that the presence of wetlands, toxic substances,
        Including asbestos and wastes or other environmental hazards, or the presence of a threatened
        or endangered species or its habitat may affect Buyer's Intended use of the Property. If Buyer Is
        concerned about these matters, an addendum promulgated by TREC or required by the parties
        should t)6 used
     H. SELLER'S DISCLOSURES; Except as otherwise disclosed in this contract, Seller has no
        knowledge of the following:
        (1)any flooding of the Property which has had a material adverse effect on the use of the
            Property;
        (2)any pending or threatened litigation, condemnation, or special assessment affecting the
            Property;
        (3)any environmental hazards that materially and adversely affect the Property;
        (4)any dumpsite, landfill, or underground tanks or containers now or previously located on the
            Property;
        (5)any wetlands, as defined by federal or state law or regulation, affecting the Property; or
        (6)any threatened or endangered species or their habitat affecting the Property.
     I. RESIDENTIAL SERVICE CONTRACTS; Buyer may purchase a residential service contract from a
        residential service company, If Buyer purchases a residential service contract, Seller shall
        reimburse Buyer at dosing for the cost of the residential service contract In an amount not
        exceeding $________ ________ft. Buyer should review any residential service contract for the
        scope of coverage, exclusions and limitations. The purchase of a residential service contract is
        optional. Similar coverage may be purchased from various companies authorized to
        do business in Texas.
     J. GOVERNMENT PROGRAMS; The Property is subject to the government programs listed below
        or on the attached exhibit: Mnnc,_____ ________________________________ __
         Seller shall provide~Buyer with copies of all governmental program agreements. Any allocation
         or proratlon of payment under governmental programs is made by separate agreement
         between the parties which will survive closing.
   8, BROKERS AND SALES AGENTS;
      A. BROKER OR SALES AGENT DISCLOSURE: Texas law requires a real estate broker or sales aqent
         who Is a party to a transaction or acting on behalf of a spouse, parent, child, business entity In
         which the broker or sales agent owns more than 10%. or a trust for which the broker or sales
         agent acts as a trustee or of which the broker or sales agent or the broker or sales agent's
         spouse, parent or child Is a beneficiary, to notify the other party in writing before entering into a
         contract of sale. Disclose if applicable: N/A__________ ______________________ _____ ______
     B. BROKERS' FEES: AiFobHgatlons of the parties for payment of brokers' fees are contained in
        separate written agreements.
  9. CLOSING:
     A. The dosing of the sale will be on or before _Sqo Par. Ti, Special Provisions , 20_ _ , or within / days
        after objections made under Paragraph 6D FvavcTbeen cured or waived, whichever date is later
        (Closing Date). If either party falls to close the sale by the Closing Date, the non-defaulting
        party may exercise the remedies contained In Paragraph 15.
     B, At closing:                               special
        (1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
            Buyer and showing no additional exceptions to those permitted In Paragraph 6, an
            assignment of Leases, and furnish tax statements or certificates showing no delinquent
            taxes on the Property,
        (2) Buyer shall pay the Sales Price In good funds acceptable to the escrow aqent.
        (3) Seller and Buyer shall execute and deliver any notices, statements, certificates, affidavits,
            releases, loan documents and other documents reasonably required for the closing of the
            sale and the Issuance of the Title Policy,
        (4) There will be no liens, assessments, or security interests against the Property which will not
            be satisfied out of the sales proceeds unless securing the payment of any loans assumed by
            Buyer and assumed loans will not be In default,
 10. POSSESSION:
     A. BUYER'S POSSESSION; Seller shall deliver to Buyerjpossession of the Property in its present or
        required condition, ordinary wear and tear excepted: f*a upon closing and funding LJ according to a
        temporary residential lease form promulgated by TREC or other written lease required by the
        parties. Arty possession by Buyer prior to dosing or by Seller after closing which is not authorized
        by a written lease will establish a tenancy at sufferance relationship between the parties, Consult
        your Insurance agent prior to change of ownership and possession because insurance
        coverage may be limited or terminated. The absence of a written lease or appropriate
        insurance coverage may expose the parties to economic loss.
Initialed for Identification by Buyer______ ___ and Seller_______________                                TREC NO. 25-14
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     B. SMART DEVICES: "Smart Device" means a device that connects to the internet to enable remote
        use, monitoring, and management of: (i) the Property; (ii) items identified In any Non-Realty
        Items Addendum; or (fii) Items In a Fixture Lease assigned to Buyer. At the time Seller delivers
        possession of the Property to Buyer, Seller shall:
        (1) deliver to Buyer written Information containing all access codes, usernames, passwords, and
            applications Buyer will need to access, operate, manage, and control the Smart Devices; and
        (2) terminate and remove all access and connections to the improvements and accessories from
            any of Seller's personal devices Including but not limited to phones and computers.
 11. SPECIAL PROVISIONS: (Insert only factual statements and business details applicable to
     the sale. TREC rules prohibit license holders from adding factual statements or business details for
     which a contract addendum or other form has been promulgated by TREC for mandatory use.)
      A. The terms and conditions set forth in the Addendum for the Stalking Horse Bidder Terms and Conditions to be attached
      hereto are hereby incorporated in this Contract in their entirety, which Addendum may not become part of this Contract until
      the Bid Procedure Order (as defined in such Addendum) has been issued by the Bankruptcy Court.
      B. Seller to convey 100% of owned minerals and executive rights.
      C. Buyer and Seilers agree that either Seller may elect to effectuate a tax deferred exchange in accordance with the Internal
      Revenue Service Code, Section 1031. Buyer agrees to cooperate with such Seiler in effectuating said tax deferred
      exchange, In cooperating with such Seller, Buyer shall incur no additional expense, obligation or liability,



 12. SETTLEMENT AND OTHER EXPENSES:
      A. The following expenses must be paid at or prior to dosing:
          (1) Expenses payable by Seller (Seller's Expenses):
              (a) Releases of existing liens, Including prepayment penalties and recording fees; release of
                  Seller's loan liability; tax statements or certificates: preparation of deed; one-half of
                  escrow fee; and other expenses payable by Seller uncler this contract,
              (b) Seller shall also pay an amount not to exceed $              000 to be applied in the
                  following order: Buyer's Expenses which Buyer is prohibited from paying by FHA, VA,
                  Texas Veterans Land Board or other governmental loan programs, and then to other
                  Buyer's Expenses as allowed by the lender,
         (2) Expenses payable by Buyer (Buyer’s Expenses) Appraisal fees; loan application fees;
              origination charges; credit reports; preparation of loan documents; Interest on the notes
              from date of disbursement to one month prior to dates of first monthly payments; recording
              fees; copies of easements and restrictions; loan title policy with endorsements required by
              lender; loan-related inspection fees; photos; amortization schedules; one-half of escrow fee;
              all prepaid items, including required premiums for flood and hazard Insurance, reserve
              deposits for insurance, acf valorem taxes and special governmental assessments; final
              compliance inspection; courier fee; repair Inspection; underwriting fee; wire transfer fee;
              expenses Incident to any loan; Private Mortgage Insurance Premium (PMI), VA Loan Funding
              Fee, or FHA Mortgage Insurance Premium (MIP) as required by the lender; and other
              expenses payable by Buyer under this contract.
     B. If any expense exceeds an amount expressly stated In this contract for such expense to be paid
         by a party, that party may terminate this contract unless the other party agrees to pay such
         excess, Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas Veterans
         Land Board or other governmental loan program regulations.
 13. PRORATIONS AND ROLLBACK TAXES:
     A. PRORATIONS: Taxes for the current year, interest, maintenance fees, assessments, dues and
         rents will be prorated through the Closing Date. The tax proration may be calculated taking into
         consideration any change in exemptions that will affect the current year's taxes. If taxes for the
         current year vary from the amount prorated at closing, the parties shall adjust the proratlons
         when tax statements for the current year are available. If taxes are not paid at or prior to
         closing, Buyer shall pay taxes for the current year. Rentals which are unknown at time of closing
         will be prorated between Buyer and Seller when they become known,
     B. ROLLBACK TAXES: If this sale or Buyer's use of the Property after dosing results in the
         assessment: of additional taxes, penalties or Interest (Assessments) for periods prior to closing,
         the Assessments will be the obligation of Buyer. If Assessments are imposed because of Seller s
         use or change in use of the Property prior to dosing, the Assessments will be the obligation of
         Seller. Obligations imposed by this paragraph will survive dosing,
 14. CASUALTY LOSS: If any part of the Property is damaged or destroyed by fire or other
     casualty after the Effective Date of this contract, Seller shall restore the Property to its previous
     condition as soon as reasonably possible, but in any event by the Closing Date. If Seller fails to do
     so due to factors beyond Seller's control, Buyer may (a) terminate this contract and the earnest
     money will be refunded to Buyer, (b) extend the time for performance up to 15 clays and the
     Closing Date will be extended as necessary or (c) accept the Property in its damaged condition with
     an assignment of Insurance proceeds, if permitted by Seller's insurance carrier, and receive credit
     from Seller at dosing In the amount of the deductible under the insurance policy. Seller's
     obligations under this paragraph are independent of any other obligations of Seller under this
     contract.

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15. DEFAULT; If Buyer fails to comply with this contract, Buyer will be in default, and Seller
     may (a) enforce specific performance, seek such other relief as may be provided by law, or both,
     or (b) terminate this contract and receive the earnest money as liquidated damages, thereby
     releasing both parties from this contract. If Seller fails to comply with this contract for any other
     reason, Seller will be in default and Buyer may (a) enforce specific performance, seek such other
     relief as may be provided by law, or both, or (b) terminate this contract and receive the earnest
     money, thereby releasing both parties from this contract.
16. MEDIATION: It Is the policy of the State of Texas to encourage resolution of disputes
     through alternative dispute resolution procedures such as mediation. Any dispute between Seiler
     and Buyer related to this contract which is not resolved through informal discussion will be
     submitted to a mutually acceptable mediation service or provider. The parties to the mediation
     shall bear the mediation costs equally. This paragraph does not preclude a party from seeking
     equitable relief from a court of competent jurisdiction.
17. ATTORNEY'S FEES: A Buyer, Seller, Listing Broker, Other Broker, or escrow agent who
     prevails in any legal proceeding related to this contract is entitled to recover reasonable attorney's
     fees and all costs of such proceeding.
18. ESCROW:
     A. ESCROW: The escrow agent is not (i) a party to this contract and does not have liability for the
         performance or nonperformance of any party to this contract, (ii) liable for Interest on the
         earnest money and (iii) liable for the loss of any earnest money caused by the failure of any
         financial Institution in which the earnest money has been deposited unless the financial
         institution is acting as escrow agent. Escrow agent may require any disbursement made in
         connection with this contract to be conditioned on escrow agent's collection of good funds
         acceptable to escrow agent.
     B. EXPENSES: At closing, the earnest money must be applied first to any cash down payment,
         then to Buyer’s Expenses and any excess refunded to Buyer. If no closing occurs, escrow agent
         may: (i) require a written release of liability of the escrow agent from all parties; and (li)
        require payment of unpaid expenses incurred on behalf of a party. Escrow agent may deduct
        authorized expenses from the earnest money payable to a party, "Authorized expenses" means
        expenses Incurred by escrow agent on behalf of the party entitled to the earnest money that
        were authorized by this contract or that party,
    C. DEMAND: Upon termination of this contract, either party or the escrow agent may send a
        release of earnest money to each party and the parties shall execute counterparts of the
        release and deliver same to the escrow agent, If either party fails to execute the release, either
        party may make a written demand to the escrow agent for the earnest money. If only one party
        makes written demand for the earnest money, escrow agent shall promptly provide a copy of
        the demand to the other party. If escrow agent does riot receive written objection to the
        demand from the other party. If escrow agent does not receive written objection to the demand
        from the other party within 15 days, escrow agent may disburse the earnest money to the
        party making demand reduced by the amount of unpaid expenses incurred on behalf of the
        party receiving the earnest money and escrow agent may pay the same to the creditors. If
        escrow agent complies with the provisions of this paragraph, each party hereby releases escrow
        agent from all adverse claims related to the disbursal of the earnest money.
    D. DAMAGES: Any party who wrongfully fails or refuses to sign a release acceptable to the escrow
        agent within 7 days of receipt of the request will be liable to the other party for (!) damages; (ii)
        the earnest money; (iii) reasonable attorney's fees; and (iv) all costs of suit.
    E. NOTICES; Escrow agent’s notices will be effective when sent in compliance with Paragraph 21.
        Notice of objection to the demand will be deemed effective upon receipt by escrow agent.
19. REPRESENTATIONS: All covenants, representations and warranties in this contract,
    survive closing. If any representation of Seller in this contract is untrue on the Closing Date,
    Seller will be in default. Unless expressly prohibited by written agreement, Seller may continue to
    show the Property and receive, negotiate and accept back up offers.
20. FEDERAL TAX REQUIREMENTS: If Seller is a "foreign person," as defined by Internal
    Revenue Code and its regulations, or if Seller fails to deliver an affidavit or a certificate of non-
    foreign status to Buyer that. Seller is not a "foreign person," then Buyer shall withhold from the
    sales proceeds an amount sufficient to comply with applicable tax law and deliver the same to the
    Internal Revenue Service together with appropriate tax forms. Internal Revenue Service
    regulations require filing written reports If currency In excess of specified amounts is received In
    the transaction.


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 21. NOTICES: All notices from one party to the other must be in writlng and are effective
     when mailed to, hand-delivered at, or transmitted by fax or electronic transmission as follows:

     To Buyer at:       P.O. Box 470852_____________ _           To Seller at:       P.O. Box 90099

      Fort Worth, TX 76147                                       Austin, TX 78709


      Phone:                                                     Phone:              i____ I

      E-mail/Fax:       til@tangoiimalp.com   ___________        E-mail/Fax:
                        w/copy to agent hray@briggsfreeman.com
      E-mail/Fax:       and bkurilecz@briggsfreeman.com          E-mail/Fax:


 22. AGREEMENT OF PARTIES: This contract contains the entire agreement of the parties
     and cannot be changed except by their written agreement, Addenda which are a part of this
     contract are (check all applicable boxes);
    □ Third Party Financing Addendum                 □ Environmental Assessment, Threatened or
                                                        Endangered Species and wetlands
    □ Seller Financing Addendum                         Addendum
    □ Addendum for Property Subject to               □ Seller's Temporary Residential Lease
        Mandatory Membership in a Property
        Owners Association                           □  Short Sale Addendum
    □ Buyer's Temporary Residential Lease            □ Addendum for Property Located Seaward
                                                        of the Gulf Intracoastal Waterway
    □ Loan Assumption Addendum
                                                     □ Addendum for Seller's Disclosure of ,
    □ Addendum for Sale of Other Property by            Information on Lead-based Paint and Lead
        Buyer                                           -based Paint Hazards as Required by
                                                        Federal Law
    □ Addendum for "Back-Up" Contract
    □ Addendum for Coastal Area Property            □ Addendum for Property In a Propane Gas
                                                        System Service Area
    □ Addendum for Authorizing Hydrostatic          □ Addendum Regarding Residential Leases
        Testing
                                                    □ Addendum Regarding Fixture Leases
    □ Addendum Concerning Right to
        Terminate Due to Lender's Appraisal         m Other (list): Exhibit A - Legal Description______
    q Addendum for Reservation of Oil, Gas
        and Other Minerals
                                                        Conditions
    □ Addendum containing Notice of
        Obligation to Pay Improvement District
        Assessment
23. CONSULT AN ATTORNEY BEFORE SIGNING: TREC rules prohibit real estate license holders
    from giving legal advice, READ THIS CONTRACT CAREFULLY.

     Buyer's                                                     Seller's
     Attorney is: _____________________ _                        Attorney is:



     Phone:        j.___ j_____       _______________             Phone:         (     )


     Fax:           <        )______________________              Fax:          j____1


     E-mail                                                       E-mail:

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                                                            (Address of Property)




      EXECUTED the         day of                                                               . 20            fEffective Date).
      (BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE.)




                                                                       Seller Gregory S, Milligan, Chapter II Trustee for
                                                                              Daryl Greg Smith fn Case No. 21-60162
                                                                              before the United States Bankruptcy Court
           By: TL Parmtan, U,C, to uonoral partner                            for the Western District of Texas, Waco
           By: Thomas L lacy, Jr„ Manager                                     Division, owner of a 90% undivided interest
                                                                              In the Property




      Buyer                                                            Seller Darren K, Reecf and Julie Reed, owneroTa
                                                                              10% undivided Interest In the Property




              The form of this contract has bean approved by the Texas Real Estate Commission. TREC forms are intended for use only i
              by trained real estate license holders, No representation Is made as to the legal validity or adequacy of any provision In any i
              specific transactions. It is not intended for complex transactions. Texas Real Estate Commission, P.O. Box 12163, Austin, j
  TREC        TX 76711-2188, (512) 936-3000 (http://www.trec,texas.gov) TREC NO. 25-Id. This farm replaces TREC MO. 25-13,



                                                                                                                         TREC NO. 25-14
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      EXECUTED the         dav of                                                              , 20            (Effective Date).
      (BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE.)




                                                                             /s/ Gregory S. Milligan
      Buyer Tango Lima Land, LP                                        Seller Gregory S. Milligan, Chapter 11 Trustee for
                                                                              Daryl Greg Smith In Case No. 21-60162
                                                                              before the United States Bankruptcy Court
                                                                              for the Western District of Texas, Waco
                                                                              Division, owner of a 90% undivided interest
                                                                              In the Property




                                                                               10% undivided interest in the Property




              The form of this contract has been approved by the Texas Real Estate Commission. TREC forms are intended for use only
              by trained real estate license holders, No representation is made as to the legal validity or adequacy of any provision In any
              specific transactions. It Is not Intended for complex transactions. Texas Real Estate Commission, P.O, Box 12188, Austin,
  TREC        TX 78711-2188, (512) 936-3000 (http://www.trec.texas.gov) TREC NO. 25-14. This form replaces TREC NO. 25-13.



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                                                           RATIFICATION OF FEE
     Listing Broker has agreed to pay Other Broker___________________3%_____________ ______ of the total Sales
     Price when Listing Broker's fee is received. Escrow Agent is authorized and directed to pay Other Broker from
     Listing Broker's fee at closing.
     Other Broker:                                              Listing Broker:
     By:__________________________________ _                                  By:_________________________________________
                          BROKER INFORMATION AND AGREEMENT FOR PAYMENT OF BROKERS' FEES

   Briggs Freeman Sotheby's Int'l Realty                         287843     Riley-McLean Land                                  9004156
   Other Broker                                               License No.   Listing or Principal Broker                      License No.

   Marian Ray/David Burgher                                    6952999      Carlotta McLean                                     437483
   Associate's Name                                         License No.     Listing Associate's Name                        License No.
   Burgher Ray Ranch Group
   Team Name                                                                Team Name
   hray@briggsfre0man.com                               (214)908-7770        CCM@rileymclean.com                         (512) 960-4676
   Associate's Email Address                                    Phone       Listing Associate's Email Address                     Phone

   Jessica Smith                                               0587574
   Licensed Supervisor of Associate                         License No.     Licensed Supervisor of Listing Associate        License No.

   3131 Turtle Creek Blvd #400                         (212) 502-8464       505 Walsh Street
   Other Broker's Office Address                                Phone       Listing Broker's Office Address                      Phone

   Dallas                                    TX                   75210     Austin                                TX             78703
   City                                     State                    Zip    City                                 State              Zip


   represents           □ Buyer only as Buyer's agent                       Selling Associate                               License No,
                        □ Seller as Listing Broker's subagent

                                                                            Team Name


                                                                            Selling Associate's Email Address                    Phone


                                                                            Licensed Supervisor of Selling Associate        License No.


                                                                            Selling Associate's Office Address


                                                                            City                                 State               Zip


                                                                            represents     0 Seller only
                                                                                           0 Buyer only
                                                                                           0 Seller and Buyer as an intermediary
   Upon-dosiog-of—the—sale-by—Seller to Buyep-of-the-Propert-y—described—In—the-eentr-aet—to—whieh—thte-fee
   a§r-eement~4s-attaehed-b-fa-> Qseller Q Buyer-vdihpavd-ist4ng-/P{4ndpal-Br-olcer 3a-€ash~fee-of-4-________
   or 3                  %-o^-t-he-total-Sales-Prieer-ar-td-f-b) 0-Seller 3 Btryer-wfU-pay-Other-Broker fcla-eash-fee-ef
   it-............. —        or 3______ ^%-of-the-tofeal-Sales-Prie&1—Sellef/BoyeF-atri:-her4zes-and-direet5-6ser©w-AgeBt
   to-pa-y-the-brokefs-fr-em-the-proceeds-at-dosingT
       Br-oker«1-fees-are-negotiabler-Brokers1-fees-oF-the-sharing-of-fees-betweerr-brokers-are-not-f4xed/-eontroliecl7
         rceommendetJ;-su§gestefl or-maintained-by-6be-Te!f«s~Real-Estate-€0mmission»

    /s/ Gregory S. Milligan                                     ___ ___     ____
   Seller                                             /") /        f\       Buyer



                                                                             Buyer
                               Do not sign if there is a separate written agreement for payment, of Brokers1 fees.

                                                                                                                         TREC NO. 25-14
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      Contract Concerning                        913.32 H- located on Counlv_Road 3365,_                      _Page 10 of 11     11-00.2021
                                                             {Address of Property)
                                                             (Address

                                                         RATIFICATION OF FEE
       Listing Broker has agreed to pay Other Broker ___ _______________3%________ __              of the total Sales
       Price when Listing Broker's fee is received, Escrow Agent is authorized and directed to pay Other Broker from
       Listing Broker's fee at closing,
       Other Broker:                                               Listing Broker;
       By:                                                                 By:
                     BROKER INFORMATION AND AGREEMENT FOR PAYMENT OF BROKERS' FEES

     Briggs Freeman Sotheby’s Int'l Realty                    287843      Riley-McLean Land                                  9004156
 i   Other Broker                                         License No.    Listing or Principal Broker                       License No.

     Harian Ray/David Burgher                                5952999      Carlotta McLean                                      437483
     Associate’s Name                                     License No.    Listing Associate's Name                          License Mo.
     Burgher Ray Ranch Group
     Team Name                                                           Team Name
     hray@briggsfreeman.com                          (214) 908-7770       CCM@rileymclean.com                         (512) 960-4676
     Associate's Email Address                                Phone      Listing Associate's Email Address                     Phone

     Jessica Smith                                          0587574
 j   Licensed Supervisor of Associate                    License No,     Licensed Supervisor of Listing Associate         License No.
 !   3131 Turtle Creek Blvd WOO                      (212) 502-8464      505 Walsh Street
     Other Broker's Office Address                            Phone      Listing Broker's Office Address                         Phone

 :   Dallas                               TX                  75210      Austin                                TX                78703
     City                                State                   Zip     City                                 State                Zip


     represents       Buyer only as Buyer's agent                        Selling Associate                                License No.
                   uJ Seiler as Listing Broker's subagent

                                                                         Team Name


                                                                         Sailing Associate's Email Address                       Phone


                                                                         Licensed Supervisor of Selling Associate         License No.


                                                                         Selling Associate's Office Address


                                                                         City                                 State                 Zip


                                                                         represents     uy Seller only
                                                                                        □ Buyer only
                                                                                        □ Seller and Buyer as an intermediary
     Upon closing-of the sale.by Seller in Buyer -of-the Properly -described in-the-contract-..to..-which.Ibis-fee
     agreement is-attached:- fa) Qseller Q Bayw-vA)H>aYiysl}flafEEfneipal-8F-
                                                                         rtnelpal-SFPkef ya-easb-fee-ef-4-v
     sr O___ ___ q^ef-tbe-tetal-Saies-PFieei-and^tj) CJSe-Mar U Buyer-■wtii-pay-Qlber-BFalteF
                                                                                  vr                      Qai-easb-fee-ef
                        ar □         qfa-of--the-- total Sales--Price,- Sdter/Suyer- auther-izes and-directs Escrow Agent
     to pay the br-akers-frem-tbe-pFseeed&at-elesing:
         Brokers' fees are negotiable. Brokers' fees of the sharing of                etween brokers arc Bot-f!xe*i,-e«»tr-©l!ed,
         recommended, suggested or maintained by the Texas Real &                        -missy



     Seller
                                                                                    riingo Lima u.,_, „
                                                                                      By: TL Permian, LLC, its general partner
                                                                                      fly: Thomas l. Lacy, Jr„ Manager
     Seller                                                               uuyei
                                                                          Buyer
                            Do not sign if there is a separate written agreement for payment of Brokers' fees.

                                                                                                                      TREC NO, 25-14
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  Contract Concerninci               913.32 +/- located on County Road 3365.    Pane 11 of it     11-00-2021
                                                  (Address of Property)



                                               OPTION FEE RECEIPT
  Receipt of 4                        (Option Fee) in the form of
  is acknowledged.


  Escrow Agent                                                                                       Date

                                             EARNEST MONEY RECEIPT

  Receipt of $                         Earnest Monev in the form of
  is acknowledged.


  Escrow Agent                                 Received by   Email Address                      Date/Time


  Address                                                                                          Phone


  City                                 State                          Zip                             fax

                                               CONTRACT RECEIPT

  Receipt of the Contract is acknowledged.


  Escrow Agent                                 Received by   Email Address                          Pate


  Address                                                                                          Phone


  City                                 State                          Zip                            Fax


                                   ADDITIONAL EARNEST MONEY RECEIPT

  Receipt of $                        additional Earnest Money in the form of
  is acknowledged.

  Escrow Agent                                 Received by   Email Address                      Date/Time


  Address                                                                                          Phone


  City                                 State                          Zip                            Fax




                                                                                       TREC NO. 25-14
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                                              Schedule 2.E.
    2.E. EXCLUSIONS: The following improvements, accessories, and crops will be retained by
    Seller and must be removed prior to delivery of possession:
           -Cattle lease items such as: squeeze chute, tractor, and panels.
           -Hunting lease items such as: (This not an inclusive list of all of our possessions at the
    Caddoa Creek Ranch, however it does cover all of the large items and most of the smaller
    ones).
       Outside pole barn on Southside (open end of barn):

           •   (3) RV trailers
           •   Propane gas grill
           •   Propane cooktop
           •   Multiple propane bottles
           •   (6) tables
           •   Picnic table
           •   (2) large fans on stands
           •   (2) large heaters
           •   Multiple small propane heaters
           •   200+ gallon water tank
           •   Wooden shooting bench
           •   (5) 20ft. hog panels
           •   (2-3 dozen) duck decoys
           •   Ladders
           •   Multiple office chairs
           •   Multiple camp chairs and stands
           •   Multiple steel targets
           •   Multiple extension cords
           •   (2) washer pits
           •   Multiple t-posts
           •   (2) deer decoys
           •   (2) bow target blocks
           •   Tool boxes
           •   Multiple small storage containers/shelving
           •   Multiple rods and reels
           •   Pole pruners
           •   White gun rack
           •   RV black/grey water sled
           •   Push brooms
           •   Rakes/shovels
           •   Longhorn steer skulls
           •   Solar panel powered electric fence / t-posts
           •   Interstate battery in electric gate
           •   Multiple combination locks on all gates except gate at the working pens
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       Inside the bam (all on the South end):
          •   (4) gas generators
          •   (3) ATV 4 wheelers
          •   (3) trailers
          •   John Deere riding lawn mower and trailer
          •   D.R. gas trimmer
          •   (2) work lights
          •   Tripod hoist
          •   Trailer hitch hoist
          •   Multiple gas cans
          •   (2) long handled clippers
          •   Multiple steel targets and stands
          •   (3) horse panels
          •   Stack of lumber
          •   Multiple t-posts/barrels/feeder legs
       Hunting blinds/stands/feeders in various locations:
          •   (10) feeders
          •   (8) tripod / ladder bow stands
          •   (7) gun blinds
          •   Multiple t-posts and horse panels around feeders
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              ADDENDUM FOR STALKING HORSE BIDDER TERMS AND CONDITIONS

             THIS ADDENDUM FOR STALKING HORSE BIDDER (this “Addendum”) is made a part of
    that certain Farm and Ranch Contract (the “Contract”) by and between Gregory S. Milligan, in his capacity
    as Chapter 11 Trustee (the “Trustee”) for the estate of Daryl Greg Smith, an owner of a 90% undivided
    interest in the real property described therein (“Smith”), and Darren Keith Reed, an owner of a 10%
    undivided interest in the real property described therein (“Reed.” together with the Trustee, “Sellers”), and
    Tango Lima Land, LP (“Buyer”). In addition to the obligations of Sellers and Buyer contained in the
    Contract, Sellers and Buyer hereby agree as follows:

             Reference is hereby made to that certain (i) Trustee’s Motion for (I) Order Approving: (A) Bid
    Procedures, Including Approval of Stalking Horse Bidder; (B) Notice of Auction and Sale Hearing; and
    (C) Related Relief, and (II) Order: (A) Approving the Sale of Real Estate Free and Clear of All Liens,
    Claims, Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 105, 363(b), (f), (h) And
    (m), 365, and 503; and (B) Granting Related Relief filed by the Trustee (the “Bid Procedures Motion”)
    [D.E. filed on February [__], 2022 in the United States Bankruptcy Court for the Western District of Texas,
    Waco Division (the “Bankruptcy Court”), and (ii) Order Granting the Bid Procedures Motion (the “Bid
    Procedures Order”) [D.E.__]. The Bid Procedures Motion also sought to establish (i) an auction (the
    “Auction”), (ii) a hearing (the “Stalking Horse Hearing”) to approve Sellers’ selection of a stalking horse
    purchaser (“Stalking Horse Purchaser”) and provision of bid protections thereto, if any, and (iii) a final
    hearing (the “Sale Hearing”) to approve the sale of the real property, as more particularly described in the
    Contract (the “Property”). All capitalized terms used herein and not otherwise defined shall have the same
    meaning as ascribed to them in the Bid Procedures Motion and Bid Procedures Order.

            Upon both (i) the full execution of the Contract, and (ii) the Bankruptcy Court’s entry of an order
    (“Stalking Horse Approval Order”) (a) approving the Contract and (b) unconditionally establishing
    Buyer as the Stalking Horse Purchaser (whether or not Buyer is the actual eventual purchaser of the
    Property, or is entitled, instead, to the “Break Up Fee” (as defined below)) and a Qualified Bidder, a valid
    and binding contract shall exist.

    1.      TERM: CONTRACT APPROVAL: BID PROTECTIONS:

            (a)     The “Effective Date” of the Contract shall be the first business day after the entry of the
    Stalking Horse Approval Order. The parties hereto understand, acknowledge and agree that upon entry of
    the Stalking Horse Approval Order the parties shall abide by the “Bid Protections” (as defined below).

             (b)     As used herein, “Bid Protections” means that if Buyer is designated as the Stalking Horse
    Purchaser and thereafter, as a result of the Auction process whereby other potential buyers are permitted to
    bid to purchase the Property, a person other than Buyer is selected to purchase the Property (such person,
    the “Successful Bidder”) pursuant to an order entered by the Bankruptcy Court (the “Sale Order”), then
    Buyer shall receive a fee (the “Break Up Fee”) equal to the sum of (i) an amount equal to two and one-
    half percent (2.5%) of the Purchase Price (as defined in the Contract), plus (ii) the amount of actual, out-
    of-pocket expenses incurred by Buyer in the negotiation of the Contract, up to a maximum amount of
    Twenty-Five Thousand and 00/100 Dollars ($25,000.00) for reimbursement of actual expenses incurred in
    connection with Buyer’s pursuit of the purchase of the Property, which Break Up Fee shall be payable from
    the sale proceeds at the closing of the sale to the Successful Bidder.

    2.       PROPERTY: Sellers agree to sell to Buyer and Buyer agrees to purchase from Sellers the Property.
    Sellers and Buyer acknowledge and agree that the legal description for the Property technically may be
    legally insufficient for the purpose of supporting an action for enforcement of the Contract. Because the
    parties desire to execute the Contract to provide for the right of enforcement, Sellers and Buyer agree that:
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    (i) they are experienced in transactions of this nature; (ii) they are familiar with the location of the Property;
    (iii) each party waives any and all claims of an insufficient legal description, including, but not limited to,
    any and all claims under the Statute of Frauds; and (iv) upon completion of the Survey as contemplated by
    paragraph 6 hereof, the Contract will be amended to incorporate the legal description of the Property
    on Exhibit “A” attached to the Survey.

    3.         TITLE: The title to the Property shall be free and clear of liens, claims, interests and encumbrances
    pursuant to 11 U.S.C. § 363(f) of the United States Bankruptcy Code, subject only to (i) the exceptions to
    title set forth in Section 6.E. of the Contract, and (ii) an exception in the event that the Closing occurs before
    the Sale Order has become a Final Order, as such terms are defined herein.

    4.      PURCHASE PRICE: The total purchase price for the Property shall be as set forth in Section 3 of
    the Contract (as may be adjusted upward following the Auction, the “Purchase Price”). Buyer shall deposit
    with the escrow agent the earnest money as more particularly set forth in Section 5.A. of the Contract (the
    “Earnest Money”).

    5.       CLOSING DATE: The closing of the Contract (“Closing”) shall take place remotely on the earlier
    of (i) May 10, 2022, and (ii) no later than three (3) calendar days after the Sale Order becomes a Final Order
    (as defined below). For the avoidance of doubt, if Buyer is not the Successful Bidder at the Auction, the
    provisions of Section 10 herein will control the disposition of the Earnest Money and obligation under this
    Section 5. For purposes hereof, “Final Order” shall mean with respect to the Sale Order that (a) the time
    to appeal, seek certiorari, or request reargument or further review or rehearing (collectively, “Appeal”) has
    expired and no Appeal has been timely filed, or (b) any Appeal that has been or may be filed, has been
    resolved by the highest court to which the order or judgment was appealed, from which certiorari was
    sought, or to which the request was made, and no further Appeal has been or can be taken or granted.

    6.       SURVEY: An existing survey was previously provided by the Sellers to the Buyer. The Sellers
    have ordered a new or updated topographic and boundary survey to be prepared (the “Survey”). Upon
    receipt of the Survey, the Sellers shall promptly provide the Survey to the Buyer.

    7.       INSPECTION: Buyer may not perform any intrusive testing of the Property. Buyer shall
    indemnify Sellers against all losses, damages, expenses, and claims that may arise by reason of any entry
    by Buyer or any agent, employee or contractor of Buyer into and upon and testing of the Property pursuant
    to this Section and shall repair any damage to the Property caused by such entry.

    8.      INSPECTIONS/AS-IS. WHERE-IS. Buyer has previously inspected the Property and, by
    executing the Contract, affirms that it has approved all aspects of the Property. It is understood that Buyer
    will be relying solely on its independent inspections and evaluations of the Property in determining the
    Property’s fitness for Buyer’s intended use. The Contract is an arms-length contract between the parties
    hereto. THE PURCHASE PRICE WAS BARGAINED FOR ON THE BASIS OF AN “AS-IS, WHERE-
    IS, WITH ALL FAULTS” TRANSACTION AND REFLECTS THE CONTRACT OF THE PARTIES
    THAT THERE ARE NO REPRESENTATIONS, DISCLOSURES, OR EXPRESS OR IMPLIED
    WARRANTIES, EXCEPT THOSE IN THE CONTRACT AND THE CLOSING DOCUMENTS. AT
    CLOSING, BUYER WILL ACCEPT THE PROPERTY IN ITS THEN CURRENT CONDITION AT
    CLOSING. BUYER IS NOT RELYING ON ANY REPRESENTATIONS, DISCLOSURES, OR
    EXPRESS OR IMPLIED WARRANTIES OTHER THAN THOSE EXPRESSLY CONTAINED IN THE
    CONTRACT AND THE CLOSING DOCUMENTS.                            BUYER IS NOT RELYING ON ANY
    INFORMATION REGARDING THE PROPERTY PROVIDED BY ANY PERSON, OTHER THAN
    BUYER’S OWN INSPECTION AND THE REPRESENTATIONS AND WARRANTIES CONTAINED
    IN THE CONTRACT AND THE CLOSING DOCUMENTS. IT IS EXPRESSLY UNDERSTOOD AND
    AGREED THAT BUYER ACCEPTS THE CONDITION OF THE PROPERTY WITHOUT ANY



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    IMPLIED REPRESENTATION, WARRANTY OR GUARANTEE AS TO MERCHANTABILITY,
    FITNESS FOR A PARTICULAR PURPOSE OR OTHERWISE AS TO THE CONDITION, SIZE OR
    VALUE OF THE PROPERTY, EXCEPT ONLY AS MAY BE OTHERWISE EXPRESSLY PROVIDED
    IN THE CONTRACT, AND SELLERS HEREBY EXPRESSLY DISCLAIM ANY AND ALL SUCH
    IMPLIED REPRESENTATIONS, WARRANTIES OR GUARANTEES, WITHOUT LIMITING THE
    GENERALITY OF THE FOREGOING, SELLERS MAKE NO REPRESENTATIONS OR
    WARRANTIES WITH RESPECT TO (A) THE VALUE, NATURE, QUALITY, OR CONDITION OF
    THE PROPERTY BEING SOLD, (B) THE SUITABILITY OF THE PROPERTY FOR ANY
    ACTIVITIES THAT BUYER MAY CONDUCT THEREON, (C) THE COMPLIANCE OF THE
    PROPERTY WITH ANY LAWS, ORDINANCES, OR REGULATIONS OF ANY APPLICABLE
    GOVERNMENTAL ENTITY, (D) COMPLIANCE OF THE PROPERTY WITH ANY
    ENVIRONMENTAL PROTECTION, POLLUTION, OR LAND USE LAWS, RULES, REGULATIONS,
    ORDERS, OR REQUIREMENTS, INCLUDING THE EXISTENCE IN OR THE PROPERTY OF
    HAZARDOUS MATERIALS, OR (E) ANY OTHER MATTER WITH RESPECT TO THE PROPERTY,
    EXCEPT AS SET FORTH IN THE CONTRACT.

    9.       REPRESENTATIONS: Buyer acknowledges that neither Sellers nor any party on Sellers’ behalf
    have made, nor do they hereby make, any representations as to the past, present or future condition, income,
    expenses, operation or any other matter or thing affecting or relating to the Property except as expressly set
    forth in the Contract.

     10.    DEFAULT AND REMEDIES: Sellers or Buyer shall be in default under the Contract if either fails
    to comply with any material covenant, agreement or obligation within any time limits required by the
    Contract (a “Default” or “Defaults”). In the event of any purported default by Sellers, Buyer must deliver
    a notice in writing to Sellers specifying the default and affording the Sellers five (5) Business Days (as
    defined below) to cure (the “Cure Period”). Following Default by either Sellers or Buyer under the
    Contract and the expiration of the Cure Period as it relates to Sellers, the other party shall have the following
    remedies:

             (a)     If Sellers Default, Buyer may either (i) cancel and terminate the Contract, and receive a
    full refund of the Earnest Money, or (ii) seek to enforce the order approving sale through the Bankruptcy
    Court.

            (b)    If Buyer Defaults, Sellers may terminate the Contract by written notice to Buyer and retain
    the Earnest Money as liquidated damages as Sellers’ sole remedy. The parties hereby acknowledge that it
    would be extremely difficult to ascertain the extent of actual damages caused by Buyer’s Default and that
    the Earnest Money represents as fair an approximation of such actual damages as the parties can now
    determine.

            (c)      If, as a result of an alleged Default under the Contract, either Sellers or Buyer employ an
    attorney to enforce their rights, the non-prevailing party in the dispute shall, unless prohibited by law,
    reimburse the prevailing party for all reasonable attorney’s fees, court costs and other legal expenses
    incurred by the prevailing party in connection with the Default.

     11.    DISPOSITION OF EARNEST MONEY AND OTHER FUNDS AND DOCUMENTS: The
    Earnest Money shall be non-refundable upon entry of the Stalking Horse Approval Order and shall be paid
    to Sellers in the event of any termination of the Contract except as expressly set forth (i) in Section 10(a)
    hereof or (ii) this Section 11 as follows:

             (a)     The Earnest Money shall be held in a segregated account by the Title Company until no
    later than ten (10) days after the Sale Hearing.



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            (b)     If the Buyer is not the Successful Bidder or the Back-Up Bidder, the Earnest Money shall
    be refundable and shall be returned to the Buyer no later than ten (10) days after the Sale Hearing.

             (c)     If the Buyer is the Successful Bidder, upon delivery of the special warranty deed, as more
    particularly described in Section 9.B. of the Contract (the “Deed”), at Closing, the Earnest Money shall be
    credited against the Purchase Price.

             (d)      If the Buyer is the Back-Up Bidder, the Earnest Money shall continue to be held by the
    Sellers until the first to occur of (i) sixty (60) days after completion of the Auction, (ii) consummation of
    the transaction with the Successful Bidder, or (iii) the Back-Up Bidder’s receipt of notice from the Sellers
    of the release by Sellers of the Back-Up Bidder’s obligations, at which time the Earnest Money shall be
    returned to the Buyer. Following the Sale Hearing, if the Successful Bidder fails to consummate an
    approved Sale Transaction because of a breach or failure to perform on part of such Successful Bidder or
    otherwise, the Back-Up Bidder will be deemed to be the new Successful Bidder, and the Sellers will be
    authorized to consummate the sale with the Back-Up Bidder, at which time, upon delivery of the Deed at
    Closing, the Earnest Money shall be credited against the Purchase Price. Additionally, the Earnest Money
    will become immediately non-refundable upon the Buyer becoming the new Successful Bidder.

    12.      REVERSAL ON APPEAL. If the Buyer is the Successful Bidder and pays the Purchase Price and
    if the Sale Order is reversed on Appeal and such reversal affects the validity of the sale to Buyer, then the
    Buyer shall be entitled to a refund of the Purchase Price from the Sellers in proportion to their ownership
    interests as set forth in the recitals hereto.

    13.      NOTICES: All notices required under the Contract shall be deemed to be properly served if
    reduced to writing and sent by (i) certified or registered mail; (ii) Federal Express or similar overnight
    courier; (iii) facsimile transmission; or (iv) personal delivery and the date of such notice will be deemed to
    have been the date on which such notice is delivered or attempted to be delivered as shown by the certified
    mail return receipt or a commercial delivery service record, or in the case of facsimile on the date of receipt
    of the transmission as shown on a successful transmission confirmation receipt; provided, however, if the
    date for the performance of any action or obligation, or any time period specified hereunder occurs on a
    day other than a Business Day, then such date or time period shall be extended until the next Business Day.
    All notices shall be addressed as follows, unless otherwise specified in writing:

     SELLERS:                                                 BUYER:

     Daryl Greg Smith                                         Tango Lima Land, LP
     5826 Cooksey Lane                                        P. O. Box 470852,
     Waco, Texas 76706                                        Fort Worth, Texas 76147

     With a Copy to:                                          With a Copy to:

     c/o Gregory S. Milligan                                  Langley & Banack, Inc.
     Chapter 11 Trustee for Daryl Greg Smith                  c/o William R. Davis, Jr. (Dick)
     P.O. Box 90099                                           745 E Mulberry Avenue, Suite 700
     Austin, TX 78709                                         San Antonio, Texas 78212
     Email: ami 11 man@.harnevpartners.com                    Email: wrdavis@langleybanack.com

     and




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     Waller Lansden Dortch & Davis, LLP
     c/o Morris Weiss
     100 Congress Ave., Suite 1800
     Austin, Texas 78701
     Fax: (512)685-6417
     Email: M o it i s. W e i ss@ W a 11 e r I aw .com


     Darren Keith Reed
     611 S. Llano
     Whitney, Texas 76692
     Email: dkeithreed@.vahoo,com

     With a Copy to:

     R. Rene Escobedo
     6800 Park Ten Blvd., Suite 135-E
     San Antonio, Texas 78213
     Fax: (210) 223-3815
     Email: renexscobedo.fi)rre-lavv.com


     14.    TIME AND EXACT PERFORMANCE ARE OF THE ESSENCE UNDER THE CONTRACT.
    Buyer and Sellers hereby agree to perform each and every obligation hereunder in a prompt and timely
    manner; provided, however, if the date for the performance of any action or obligation, or any time period
    specified hereunder occurs on a day other than a Business Day, then the date or time period shall be
    extended until the next Business Day. As used herein “Business Day” shall mean any calendar day other
    than a Saturday, Sunday, or Texas or Federal legal holiday.

    15.      ADDITIONAL TERMS:

            (a)     Permits and Approvals. Sellers shall reasonably cooperate with Buyer in verifying any
    existing governmental approvals and in seeking and making any inquiries related to the Property, as
    reasonably determined necessary by Buyer, provided such cooperation is at no cost or expense to Sellers.
    Sellers make no representations or warranties about the existence of or effectiveness of any governmental
    approvals.

            (b)       Assignment. Buyer may assign the Contract to any entity formed by Buyer for the purpose
    of taking title to the Property, provided the assignee assumes, in writing, all obligations and liabilities of
    Buyer under the Contract and has the same beneficial ownership as the Buyer, and with approval of the
    Bankruptcy Court. Unless agreed to by Sellers, Buyer shall not be relieved of any liability hereunder upon
    such an assignment.

            (c)      Miscellaneous. This Addendum shall be governed by, and construed and interpreted under,
    the laws and judicial decisions of the State of Texas. This Addendum and all covenants, terms, conditions,
    warranties, and undertakings contained herein, and all amendments, modifications and extensions hereof,
    as applicable, shall be binding upon and shall inure to the benefit of the parties hereto and their respective
    heirs, executors, administrators, personal representatives, successors and permitted assigns. This
    Addendum may be executed in multiple counterparts, each of which shall be deemed an original, but taken
    together shall constitute one instrument. Sole and exclusive jurisdiction over any disputes related to this




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    Addendum and the Contract shall be in the United States Bankruptcy Court for the Western District of
    Texas, Waco Division.

          (d)  CONFLICTS OF PROVISIONS. SELLERS AND BUYER HEREBY ACKNOWLEDGE
    AND AGREE THAT THE TERMS AND CONDITIONS OF THIS ADDENDUM SUPERSEDE ANY
    DIFFERENT OR INCONSISTENT PROVISIONS IN THE CONTRACT AND, AS A RESULT, IN THE
    EVENT OF ANY CONFLICT BETWEEN THE TERMS AND CONDITIONS OF THE CONTRACT
    AND THE TERMS AND CONDITIONS OF THIS ADDENDUM, THE TERMS AND CONDITIONS
    OF THIS ADDENDUM SHALL CONTROL.

    16.     ENTIRE AGREEMENT AND MANNER OF MODIFICATION: The Contract, and any
    attachments or addenda thereto, constitutes the complete agreement of the parties concerning the Property,
    and supersedes all other agreements and may be modified only by both parties initialing changes in the
    Contract or by written agreement. However, in the event of any conflict between the Contract and the Sale
    Order, the terms of the Sale Order shall prevail.

    17.     NO RULE OF STRICT CONSTRUCTION: Each party and its counsel has reviewed and jointly
    participated in the establishment of the Contract and the attachments or addenda thereto. No rule of strict
    construction or presumption that ambiguities will be construed against any drafter will apply, and no
    presumptions will be made or inferences drawn because of the final inclusion of a term not contained in a
    prior draft or the final deletion of a term contained in a prior draft.


                                         [Signatures on Following Page]




                                                        6
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             IN WITNESS WHEREOF. Seilers and Buyer execute this Addendum on the date(s) indicated
     below their respective signatures.

      SELLERS;
       /s/ Gregory S. Milligan
      GREGORY S. MILLIGAN, Chapter 11 Trustee
      For Daryl Greg Smith In Case No. 21-60162
      before the United States Bankruptcy for the
      Western District of Texas, Waco Division        Tit|e.
                                                               ~ByrftK>maffLrtacyr*TManag^
                                                      Date:       /4,r> 7-'Z-
      Date:




                                                                                                  Signature Page
                                                                                Stalking Horse Bidder Addendum
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                                    EXHIBIT B

                                Settlement Statement
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  American Land Title Association                                                                              Settlement Statement -
                                                                                                        Combined Adopted 05-01-2015




 File No.               181728TTX                          Thomas Title & Escrow                       [jITHOMAS
 Version:               3                               1800 West Loop South, Suite                    IminmiJ Title & fiscrow
                                                           750 Houston, TX 77027



 Project Reference:

                                            913.22 acres, more or less, of Real Property in
 Property Address:
                                            Bosque County, Texas

                                            Gregory S. Milligan, Chapter 11 Trustee for
                                            Daryl Greg Smith In Case No. 21-60162
                                            before the United States Bankruptcy Court
                                            for the Western District of Texas, Waco
Seller:                                     Division, owner of a 90% undivided interest

                                                                                      . as Qualified
                                            Intermediary for Darren Keith Reed, owner of a 10%
                                            undivided interest

                                            Tango Lima Land, LP
 Buyer:                                     PO Box 470852
                                            Fort Worth, TX 76147

Settlement Date:                            5/10/2022




                     Seller                                        Description                                      Bu\/er
        Debit                   Credit                                                                      Debit             Credit
                                                                    Financial
                              $4,899,425.3! )                    Purchase Price                          $4,899,425.3! )

                                                            Prorations/Adjustments
                                                                Earnest Money                                                $500,000.0!

                                                    Prorations/Adjustments - Property Taxes
                                                      Bosque County Property Tax Values
              $21.76                              R05401 (01/01/2022 - 05/10/2022) @ $61.09                                      $21.76
              $91.86                              R06632 (01/01/2022 - 05/10/2022) @ $257.88                                     $91.85
               $3.81                              R06769 (01/01/2022 - 05/10/2022) @ $10.69                                       $3.81
             $173.6-                              R07034 (01/01/2022 - 05/10/2022) @ $487.51                                    $173.65
             $120.21                              R25493 (01/01/2022 - 05/10/2022) @ $337.52                                    $120.2'
             $194.76                              R25849 (01/01/2022 - 05/10/2022) @ $546.88                                    $194.76
             $261.66                              R37251 (01/01/2022 - 05/10/2022) @ $734.71                                    $261.66
               $0.52                               R37253 (01/01/2022 - 05/10/2022) @ $1.46                                       $0.52
               $0.84                               R37257 (01/01/2022 - 05/10/2022) @ $2.37                                       $0.84


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                                                      Government Recording and Transfer Charges
               $300.00                                  Recording Fees to County Clerk (estimate)                  $100.00
               $140.00                                 Lis Pendens Recording Fees to County Clerk


                                                      Title Charges & Escrow/Settlement Charges
                                                          Owner's Policy of Title Insurance (T-l)               $22,460.00
                                                             Owner's Policy Endorsement(s)
                                                            Exception to Area and Boundaries                      $3,369.00


               $500.00                                           Escrow/Settlement Fee                             $500.00
                                                           State of Texas Policy Guaranty Fee                        $2.00
               $100.00                                       Tax Certificate Fee (estimate)
               $800.00                                 Document Copies and Exam Fees (estimate)


                                                                     Miscellaneous
         $146,982.76                                      Commission to Riley-McLean Land
         $146,982.76                               Commission to Briggs Freeman Sotheby's Int'l Realty

                                                                             Payoff(s)


                                                                               Taxes
                $67.80                             2021 Taxes   (Prop   ID   R05401) to   Bosque County A/C
               $286.25                             2021 Taxes   (Prop   ID   R06632) to   Bosque County A/C
                $11.86                             2021 Taxes   (Prop   ID   R06769) to   Bosque County A/C
               $541.13                             2021 Taxes   (Prop   ID   R07034) to   Bosque County A/C
               $374.64                             2021 Taxes   (Prop   ID   R25493) to   Bosque County A/C
               $607.04                             2021 Taxes   (Prop   ID   R25849) to   Bosque County A/C
               $815.54                             2021 Taxes   (Prop   ID   R37251) to   Bosque County A/C
                 $1.62                             2021 Taxes (Prop ID R37253) to Bosque County A/C
                  $2.63                            2021 Taxes (Prop ID R37257) to Bosque County A/C



                       Seller                                                                                      Borrower/Buyer
         Debit                     Credit                                                                        Debit         Credit
         $299,383.11              $4,899,425.30                        Subtotals                              $4,925,856.30   $500,869.08
                                                                 Due From/To Borrower                         $4,424,987.22         $0.00
                  $0.00           $4,600,042.19                   Due From/To Seller
                                                                        Totals




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